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                LDS PERSONAL
                 FAITH CRISIS
                                           Prepared for President Dieter F. Uchtdorf
                                                        Proprietary and Confidential




                                                                           JUNE 2013
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                                               “Don’t find fault.
                                                    Find a remedy.”
                                                    CLAYTON M. CHRISTENSEN HARVARD BUSINESS SCHOOL




                                                                                           i
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                                                              PROLOGUE


                                                              30 March 2019
                                                              From October 2011 until August 2013, an unpaid team of scholars,
                                                              strategists, and other volunteers conducted research, synthesized
                                                              findings, and developed a number of strategic recommendations
                                                              aimed at helping LDS leaders better understand and more
                                                              compassionately minister to members of the Church of Jesus Christ
                                                              of Latter-day Saints in a faith crisis, meaning members experiencing
                                                              severe emotional turmoil resulting from discovering Church
                                                              history facts that do not align with the traditional narrative of the
                                                              Church. This faith crisis project was self-initiated and completed pro
                                                              bono, meaning the work was conducted without compensation.
                                                              The following pages of this PDF contain a copy of the LDS Personal
                                                              Faith Crisis report delivered to senior Church leaders in the early summer
                                                              of 2013. A supplemental report entitled “Faith Crisis Chronicles” was
                                                              also delivered to senior leaders a few weeks later in August 2013.
                                                              A more detailed description of the project’s impetus,
                                                              estimated outcomes, and a listing of individual collaborators
                                                              is included at the end of the document.




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ACKNOWLEDGEMENTS




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Many individuals contributed to this project and warrant appreciation.
An extended team of scholars and professionals donated countless hours                                                         The Perpetual Cycle of Disaffection        55
 to developing content, reviewing, and providing valuable feedback.
                                                                                                                               Faith Crisis Profiles                      75
The majority of the team is based in the U.S., but several members
 are internationally based. Contributors hold advanced degrees in:                                                             Summary & Potential Next Steps            121
· American History
· Anthropology
· Brand Strategy
· Business Strategy
· Digital and Social Media
· Law
· Literature and Philosophy
· Literature and Religion
· Pathology
· Psychology
· Sociocultural Modeling
· Statistics

All team members love the Church and wish to see our
­members suffer less as the result of Faith Crisis.



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PROJECT OBJECTIVE                                                                                            4) While it was not uncommon in our recent past for “left-leaning”
                                                                                                                 individuals to struggle in their faith over doctrinal issues such as blacks
The research team’s objective is to present data on LDS                                                          and the priesthood or gays, our data suggests an increasingly number
personal Faith Crisis that assists Church leaders in:                                                            of individuals and families from “the middle” are losing faith and
                                                                                                                 reducing or eliminating Church activity as a result of Faith Crisis.
1) Better understanding Faith Crisis catalysts and processes.
2) Determining the best course of action for retaining those members
    currently in crisis, repairing damaged families, and mitigating the                                      A NEED FOR NEW METRICS
    negative implications of those who are leaving or have already left.
                                                                                                             Traditionally, the Church has measured loss-of-faith and disaffection
3) Considering how to best prevent Faith Crisis from negatively affecting
                                                                                                             by tracking the number of resignation letters received at Church
    current and future generations.
                                                                                                             headquarters. Unfortunately, this traditional measurement
                                                                                                             vastly under represents the Faith Crisis challenge because:
FA I T H C R I S I S D E F I N E D
                                                                                                             · A large segment of those who have lost faith remain active or semi-active
                                                                                                                in the Church (just under half of our Faith Crisis survey respondents
Faith Crisis is defined as a state of intense emotional and spiritual
                                                                                                                who had lost all faith continue to attend meetings). These active but
distress resulting from the discovery of Church history facts that
                                                                                                                faithless members have no reason to submit resignation letters.
do not align with the traditional LDS narrative. This distress
results in members losing faith in some or all foundational                                                  · The majority of those who completely disengage from the Church do
truth claims of the LDS Church and in the Church itself.                                                        not submit resignation letters. Many view this as an unnecessary offense
                                                                                                                to believing family members and friends. Some do not wish to invest
                                                                                                                the time in the multi-step process. Some do not wish to recognize the
R E A S O N S T O F O C U S O N FA I T H C R I S I S                                                            Church’s authority by submitting a resignation letter. And perhaps
                                                                                                                some wish to “hedge their bets” by remaining on the Church rolls.
With the Church being such a sacred, integral part of our lives, openly                                      Measuring the severity of Faith Crisis by simply tracking
discussing Faith Crisis can be a heartbreaking task. However, a candid                                       numbers of resignations creates a false impression there is no
and expeditious analysis of the challenge is essential because:                                              formidable challenge and causes many to deny the severity of the
1) Our data show a significant number of Church leaders                                                     issue. It will not serve us well if we have “Faith Crisis deniers”
    (who have traditionally been stalwart, active, and highly                                                in the same way we now have climate change deniers.
    committed) are leaving the Church or lapsing into long-
    term inactivity, resulting in a void of local leadership.
2) When long-time members go inactive as a result of Faith Crisis,
    a large ripple effect is created within their families, wards, and
    stakes. This ripple effect that causes others to lose faith may not be
    detected for months or even years from the point of first exposure.
3) Not addressing the Faith Crisis issue will compound the challenge
    for future leaders and future generations of members.




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                                                                                                                 PRIMARY FACTORS
A N E E D F O R D I S R U P T I V E I N N O VAT I O N

Harvard Business School professor and active Church member, Clayton                                              DRIVING FAITH CRISIS
Christensen, developed a business model identifying two main forms
                                                                                                                 Understanding the disruptive technology that facilitates Faith Crisis
of organizational innovation: sustainable and disruptive. Sustainable
                                                                                                                 is valuable prior to analyzing this document’s specific Faith Crisis data.
innovation is the maintaining of the status quo that moves forward
                                                                                                                 Our research team identified four primary factors that drive Faith Crisis:
existing businesses and markets (this form of innovation is embraced by
the mass majority of Fortune 500 companies.) In his critically-acclaimed                                         1) Unprecedented Access To Uncorrelated Information
book The Innovator’s Dilemma, Brother Christensen describes how well                                             2) Continual Access to Uncorrelated Information
managed, well-run organizations can fail because they focus too heavily on                                       3) Unprecedented Content Creation and Consumption
sustainable innovation and ignore what he coined “disruptive innovation.”                                        4) The Mormon Moment

Disruption is what happens when a new technology or innovation                                                   Following a description of these factors, a Faith Crisis example is
changes the environment for an entire market. Well-run organizations,                                            provided to illustrate the speed and ease in which many of our members
with long histories of doing things “the way they’ve always been done,”                                          are exposed to uncorrelated information that can trigger a Faith Crisis.
can become blinded and unable to effectively deal with disruption.
Thus, disruption can cause significant and even total failure of
large, highly successful and well-run organizations (e.g., Kodak and
IBM) and even have a deleterious impact on entire industries (e.g.,
print publishing). Companies that embrace disruption and remain
open to innovation (e.g., Apple and Google) survive and thrive.
Although The Church is—in many defining ways—clearly differentiated
from a business, it also has numerous parallels to a large, well-run
corporation. While this provides the membership (and the world) many
needed benefits, it also results in a Church structure that is slow to change.
For the first time in our history, the Church can no longer control
its own message—and, therefore, its own narrative—to its
membership. For a religion focused so heavily on its history, the
uncorrelated presentation of Church history via the Internet and
social media are proving to be a “disruption”for today’s Church.
Considering the parallels the institutional Church has with a highly
structured and efficient business organization (which comes with
inherent resistance to change) combined with the disruption caused
by an uncorrelated history on the Internet and Social Media, our Faith
Crisis research team believes the long-term health and vitality of
the institutional Church are at risk. Immediate, bold, and innovative
action is needed to address the threat posed by Faith Crisis.




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              UNPRECEDENTED ACCESS TO                                                                                               CONTINUAL ACCESS TO
              U N C O R R E L AT E D I N F O R M AT I O N                                                                           U N C O R R E L AT E D I N F O R M AT I O N




                                                                                                                       Internet usage throughout the day prior to the smartphone




                                                                                                                          Internet usage throughout the day with the smartphone

My 10 year-old son asks his older sister to tell him the typical length of an                                   A 2011 consumer-research study by Motorola illustrates
adult leopard gecko. Without hesitation, she enters the query into Google                                       the impact the smartphone has had on how American
and within seconds responds with the answer: 10.9” with a weight of up                                          consumers access information on the Internet.
to 65 grams.                                                                                                    The top chart represents Internet usage prior to the smartphone—
The Internet democratizes information. Today, literally no question                                             which shows users accessing the Internet only periodically throughout
goes unanswered. Through the Internet, our members now have                                                     the day (e.g., at home in the morning, periodically throughout the
access to uncorrelated Church historical data, details, and doctrine                                            day while at work, and before retiring to bed in the evening).
that vary—and sometimes conflict—with our traditional LDS                                                       The bottom chart illustrates how smartphone users access the Internet
narrative. The Internet presents this “uncorrelated” information from                                           continually throughout the day—giving them near instantaneous access
vastly different perspectives (from apologetic to highly critical).                                             to information (e.g., checking the Internet while exercising, commuting
                                                                                                                on public transportation, while eating meals, etc.). Illustrating the
                                                                                                                magnitude of the smartphone, the Motorola research indicates 35
                                                                                                                percent of US smarphone users now interact with “non-voice apps”
                                                                                                                such as Facebook prior to rising from bed each morning, which is a
                                                                                                                major shift in human behavior from just a few years previously.
                                                                                                                Combined with Google and other search engines, a significant segment
                                                                                                                of our membership now has continual access to uncorrelated information.




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                    UNPRECEDENTED CONTENT
                    C R E AT I O N A N D C O N S U M P T I O N                                                                            THE MORMON MOMENT




Social Media is defined as the use of web-based and mobile technologies
to turn communication into an interactive dialogue. Put more simply,
social media is the distribution of content by people to people via the Internet.
                                                                                                                    Never has the media both celebrated and scrutinized The Church
The most recognized social media platforms include Facebook,
                                                                                                                    of Jesus Christ of Latter-day Saints as it has the past six years. While
YouTube, and Twitter; but social media also include blogs, user-
                                                                                                                    much of this media attention has highlighted the very best aspects of
generated comments, and user-generated podcasts (audio recordings).
                                                                                                                    Mormonism, it has also perpetuated negative stereotypes, given a loud
Through Church wards and stakes, our membership naturally has                                                       voice to critical points-of-view, and frequently publicized information
strong built-in “offline” social networks. These often translate to strong                                          that conflicts with our traditional LDS narrative. This “uncorrelated”
online social networks that digitally stitch our membership together.                                               information is often arbitrarily presented to members who may be
Our social networks can be used for both positive and negative ends.                                                unaware of or ill-equipped to deal with such new information.
Online social networks have proven valuable for promoting the “I’m a
Mormon” branding campaign. Given that the average US LDS Facebook
                                                                                                                    As outlined in the following pages, unprecedented access to information
user has 225 Facebook friends, with 10% of these members promoting an
                                                                                                                    through Google and similar search engines, continual access to information
I’m a Mormon video on their Facebook, it is estimated that 70% of the
                                                                                                                    via mobile technology, and the unprecedented ability to create and
US population eventually will be exposed to these positive messages.
                                                                                                                    consume social content—combined with The Mormon Moment’s
Combining our LDS Social Networks with uncorrelated Faith Crisis-                                                   media attention of uncorrelated topics—has proven traumatic—and in
related information enables disaffected members to seamlessly share                                                 some cases devastating—for a segment of our active membership.
faith-eroding information with large portions of our unprepared
membership. The powerful influence of uncorrelated information via Social
Media cannot be understated—it threatens the long-term success of the Church.




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FAITH CRISIS                                                                                               Exposure to Other Members

ILLUSTRATED
                                                                                                           Within seconds, over 100 ward members—who are Facebook friends
                                                                                                           with Adam—were potentially presented this video. Disappointingly,
The following real-life anecdote illustrates the ease and speed in which                                   one of the Young Women from our ward commented on Adam’s
Faith Crisis information can be presented to our active membership:                                        link and voiced her support for the disaffected message. Many
                                                                                                           others presumably viewed the video but did not comment.
Background                                                                                                 Path to Additional Information
Adam (a pseudonym) was a young man in my New York City ward                                                Each of Adam’s Facebook friends who had clicked on the video would
when I was in the bishopric. Adam had a leader to youth ratio of 3 to                                      have been taken to the “I am an Ex Mormon” web site, where they
1 and was, by all accounts, a solid young man with great leadership                                        would have been presented with a wide range of disaffection stories
potential within the Church. In mid 2011, Adam discovered through                                          that are reinforced by thousands of user comments. This site, in
Facebook the anti-Mormon web site, iamanexmormon.com. This                                                 and of itself, is extremely faith eroding. But if members clicked on
antagonistic web site mimics the “I’m a Mormon” campaign by                                                the “Mormon Think” tab on the right-hand sidebar of the “I’m an Ex
presenting videos of members telling their disaffection stories. A                                         Mormon” homepage, they would be taken to mormonthink.com, which is
few weeks after discovering this website, Adam lost all faith in the                                       considered by many to be the most faith eroding website on the Internet.
Church. Feeling betrayed from not being told “the whole truth,” and
wanting to share his pain with others, he posted a link to an “I’m an
Ex Mormon” video on his Facebook page (see below screen capture).




                                                                                                           Over the course of a few seconds, dozens of Adam’s active LDS
                                                                                                           Facebook friends were presumably presented with anti-Mormon
                                                                                                           messaging. As presented in the following sections, these faith-
                                                                                                           eroding messages have proven effectual in destroying the faith
                                                                                                           of many of our best, brightest, and most spiritual members.




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                                                                                  SUMMARY
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                                                          SURVEY
                                                          OVERVIEW
                                                          IMPETUS & RESEARCH TEAM

                                                          When working with large, multi-national corporations, it is not
                                                          uncommon to have $1 million+ research budget for obtaining statistically
                                                          significant data designed to inform and guide the organization’s brand
                                                          strategy. Without such a research budget, our team recruited a group of
                                                          Ivy League volunteers trained in statistics, sociocultural modeling, and
                                                          anthropology. This initial “data collection” team was later supplemented
                                                          by an unpaid group of faithful LDS scholars, educators, and professionals
                                                          who helped refine the group’s strategic recommendations.

                                                          S U RV E Y S I Z E

                                                          This Faith Crisis ethnographic survey consists of 3,086 responses.
                                                          All respondents believed at one time the LDS Church was
                                                          “true” but most no longer believe this to be the case.

                                                          S U RV E Y M E T H O D O L O G Y

                                                          Survey respondents consisted of self-selected participants who were
                                                          recruited via social media over the course of two weeks in October
                                                          2011. Total respondents = 3,388, 302 of whom were removed due to
                                                          incomplete data. Given the lack of budget, the survey sample was
                                                          not randomly selected. The study does not claim to be predictive in
                                                          nature or of statistical significance. That said, the data collected are
                                                          considered a robust ethnographic study of the Faith Crisis cohort
                                                          and many points of this analysis are indicative of the experiences
                                                          of many people in the Church who pass through a crisis of faith.
                                                          For a future study—to scientifically establish a correlation between
                                                          Church history and disaffection—our team would like to locate a random
                                                          sample of Saints and then monitor their reading habits and Church
                                                          activity over a sustained period. But even without this more extensive
                                                          research, we believe this ethnographic study provides an undeniable
                                                          link between issues related to Church history and loss-of-belief.


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                 DEMOGRAPHICS
                                 AGES                                         SEX                                                                  E D U C AT I O N                                    INCOME
                                                                                                                                           Some HS Some HS
                  > 60     > Teens
                             60      Teens                                                                                                    0%     0%HS gradHS grad                               > $200K> $200K
                                                                                                                                                                                                               $0 - $20K
                                                                                                                                                                                                                      $0 - $20K
                  5%        2%
                           5%         2%                                                                                             Doctorate
                                                                                                                                            Doctorate    3%     3%                                    7%     7% 10%     10%
       50's      50's                                                                                                                  10%     10%
       11%       11%                      20's     20's                                                                                                         Some college
                                                                                                                                                                       Some college
                                          25%      25%                                                                                                              27% 27%                                                   $20K - $40K
                                                                                                                                                                                                                                     $20K - $40K
                                                                                                                           Master’sMaster’s                                                                                      14%    14%
                                                                                                                            21%     21%                                                 $100K -$100K
                                                                                                                                                                                               $200K- $200K
                                                                                                  Female Female                                                                             22% 22%
40's     40's                                                                                      42% 42%
18%      18%                                              Male      Male
                                                          58%       58%

                                                                                                                                                                                       $80K - $100K
                                                                                                                                                                                              $80K - $100K                   $40K - $60K
                                                                                                                                                                                                                                    $40K - $60K
                                                                                                                                                                                          14%     14%                           17%    17%

                            30's     30's                                                                                                        College College
                                                                                                                                                         grad grad                                      $60K - $80K
                                                                                                                                                                                                               $60K - $80K
                            39%      39%                                                                                                             39% 39%                                               17%    17%

                                                                                                                                               General
                         AGE S    AGE S                                         SEX      SEX                                                  · YoungerEmembers
                                                                                                                                                  E DUCATION
                                                                                                                                                         DUCATIONfrom the survey over index as struggling
                                                                                                                                                                                                    INC OMwith
                                                                                                                                                                                                             EFaith
                                                                                                                                                                                                           INC OM E
                                                                                                                                                 Crisis—with Gen X and Millennials comprising 84% of respondents.
                           M A R I TA L                                   L O C AT I O N                                                      · The sample skews slightly more male than female.
                            S TAT U S                                Europe Europe
                                                                       4%       4%                                                            Education
                                                                 Canada Canada
                                                                             Other   Other
                                                                   3%       3%3%      3%                                                      · Faith Crisis respondents tend to be more educated than average.
                                                              Latin America
                                                                       Latin America                                                          · Despite Faith Crisis skewing to the highly educated, members
                                                                   0%       0%
                                                                                                                                                with lower-levels of education are also affected by Faith Crisis.
 Single Single                                                                                                                                · Based on education levels, we can assume many of the members
 30% 30%                                                                                       Utah    Utah
                                                                                               31%     31%                                       losing faith are members of means and experience.

                                                                                                                                               Income
                                                                                                                                              · The income data suggest Faith Crisis is moving through all income
                                                                                                                                                 strata (including those on the lower end of the income range).
                                                                                                                                              · 43% earn more than $80,000 per year (significantly higher than average).
                                                                                                                                              · Nearly 30% earn six figures or above (significantly higher than average).
                                                                                                                                              · When factoring median income for these Faith Crisis respondents, the
                                     MarriedMarried                                                                                              Church incurs an estimated tithing-revenue loss of $281 Million over ten years
                                                             Non UtahNon
                                                                      USAUtah USA
                                      70% 70%                    60%     60%                                                                    (at $2.5 million per chapel, that represents a theoretical loss of 112 chapels).

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                M A RI TAL
                        M A STATUS
                            R I TAL STATUS                                  LOC ATION
                                                                                  LOC ATION
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                                          C H U R C H AT T E N D A N C E                                                                          OF THOSE WHO LEFT THE CHURCH,
                                                                                                                                                    M O S T H A D D O N E S O R E C E N T LY
                                                Annually
                                                  6%
                                        Quarterly
                                          6%
                                                                                                                                                                   Social Media + Mobile Smartphones
                              Monthly
                                5%
                  Every Other Week
                         6%




                                                                                   Do Not Attend
                                 Weekly                                                56%
                                  20%




             After losing faith, just under half of the disbelieving members continue to
             attend Church—with 20% C     continuing
                                            URRENT     toCattend
                                                           H UR Cweekly.
                                                                  H
                                                      I N V O LV E M E N T




             MA
   MAJO RITY OF    J OCR
                I NA   TIIVT
                           EYR EOS PF I NEA
                                     OND  NTCST I V E R E S P O N D E N T S
           W E R E L I F E L O N G O R BL
   WERE LI FELONG     OR L ONG  - TI ME ME M  EROSN. G-TIME MEMBERS                                                                                                      Broadband Internet



                  Median Years Active           Median Years Inactive                                                                                                    The Internet

              0                          12.5                     25              37.5             50

   TEENS


TWENTIES
                                                                                                                                                              Years that member left Church activity
 THIRTIES


 FORTIES                                                                                                                                · 71% of those who lost faith did so within the last 8 years.
                                                                                                                                        · Loss-of-faith correlates with mainstream Internet access,
   FIFTIES
                                                                                                                                           broadband, and social media and mobile Internet adoption.
  SIXTIES                                                                                                                               · Note: While anecdotal evidence suggests a recent dramatic rise
                                                                                                                                           in disaffection, this data is not necessarily evidence of that rising
                                                                                                                                           trend as other factors (i.e. lower desire over time to stay involved
                                                                                                                                           / respond to a survey) may contribute to self-selection bias.


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C ALL I NG S H E L D / ME N
                          CALLINGS HELD: MEN                                                                                     HIGHEST CALLINGS HELD
                                                                                                                                 B Y S U R V E Y PA R T I C I PA N T S
                                                                  #          %


 Served in at least one calling                                 1,563    87%

 Missionary                                                     1,306    73%

 Elder's Quorum Presidency and/or High Priest Leader             928     52%
                                                                                                                                                                             Mission President = 5
 Young Men's Presidency                                          680     38%

 Ward Mission Leader                                             388     22%                                                    136                                          Stake President = 20
                                                                                                                                             136
 Bishopric                                                       356     20%                             21% of respondents
                                                                                                              (or spouse) are
 Temple Worker                                                   204         11%                          bishopric or higher                252
 Stake calling (Aux. Presidency, High Council, Stake Pres.)      148         8%                                                 252                                     Mission Presidency
                                                                                                                                                                        Stake Presidency
 Mission President                                                5          0%                                                                                         Stake Auxiliary/High Counsel
                                                                                                                                                                          Mission Presidency
                                                                                                                                                                          Mission Presidency
                                                                                                                                                                        Bishopric
                                                                                                                                                                        EQ Pres, RS Pres, HP Leader,
                                                                                                                                                                          Stake Presidency
                                                                                                                                                                          Stake
                                                                                                                                                                        Ward      Presidency
                                                                                                                                                                              Auxiliary Presidency
                                                                                                                                             596                          Stake
                                                                                                                                                                          Stake Aux.Auxiliary/High
                                                                                                                                                                                     / High Council     Counse
                                                                                                                                                                          Bishopric
                                                                                                                                                                          Bishopric
C ALL I NG S H E L D / WOME
                       CALL NINGS          HELD: WOMEN                                                                                                                    EQPres,
                                                                                                                                                                          EQ    Pres,   RS HP
                                                                                                                                                                                    RS Pres, Pres,   HP Leader
                                                                                                                                                                                                 Leader
                                                                                                                                                                          Ward
                                                                                                                                                                          Ward    Auxiliary
                                                                                                                                                                                Auxiliary       Presidency
                                                                                                                                                                                          Presidency
                                                                  #          %


Served in at least one calling                                   996     77%
                                                                                                                                596
Young Women's Presidency                                         544     42%

Relief Society Presidency                                        452     35%                                                                 931
Primary Presidency                                               406     31%

Missionary                                                       215     17%

Spouse of Bishopric                                              99          8%

Stake calling (Aux. Presidency, wife of Stake Presidency)        75          6%

Temple Worker                                                    60          5%

Spouse of Mission President                                       4          0%




                                                                                                                                931
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“Not since                                                                                                          REASONS &
                                                                                                                    REPERCUSSIONS
 Kirtland have                                                                                                       Survey respondents were asked to identify the reasons that led to their



 we seen such an
                                                                                                                     loss-of-belief (respondents were able to select multiple “primary factors.”)
                                                                                                                     As indicated in the below chart, the top factors for loss-of-belief
                                                                                                                     are highly correlated to each other and pertain specifically to




 exodus of the
                                                                                                                     the Church’s key historical truth claims: 1) Joseph Smith, 2)
                                                                                                                     History, 3) Doctrine / theology, 4) Book of Mormon
                                                                                                                     Interestingly, factors traditionally cited as reasons for loss-of-faith (offense,




 Church’s best
                                                                                                                     desire to sin) rank least relevant amongst these Faith Crisis respondents.




 and brightest                                                                                                                  S TAT E D R E A S O N S F O R L O S S - O F - B E L I E F
                                                                                                                                            ( P R I M A RY FA C T O R S )




 leaders.”
                                                                                                       R A N K ING OF P R I MAR Y F A CTORS I N LO SI NG F A I TH


                                                                                                                I ceased to believe the doctrine/theology
                                                                                                               I studied church history and lost my belief
                                                                                                                               I lost faith in Joseph Smith
                                                                                                                       I lost faith in the Book of Mormon
 TERRYL GIVENS LDS SCHOLAR
                                                                                                               I lost confidence in the general authorities
                                                                                                                              Church's stance on women
                                                                                                                 I did not feel spiritually edified at church
                                                                                                              Church's stance on homosexuals / Prop 8
                                                                                                                          Church's stance on race issues
                                                                                                                    Church's stance on science matters
                                                                                                                    I became bothered by church culture
                                                                                                             I re-evaluted what it means to believe/know
                                                                                                                 I lost confidence in local church leaders
                                                                                                                                      I lost my faith in God
                                                                                                                                    I lost my faith in Jesus
                                                                                                            I didn’t receive the promised spiritual witness
                                                                                                         I received a spiritual witness to leave the church
                                                                                                        Lack of meaningful friendships within the church
                                                                                                        I or someone was abused by someone at church
                                                                                                                              I was offended by someone
                                                                                                                        Wanted alcohol, extra-marital sex
                                                                                                                                                                0%             10 %          20 %   30 %   40 %




                             Research Summary | 30                                                                                                                   Research Summary | 31
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                            R A N K I N G O F P R I M A RY FA C T O R S                                                              A C C U M U L AT I O N L E A D S T O D I S B E L I E F
                             (WITHIN HISTORICAL ISSUES)


                      Book of Abraham                                                                                                                     PAST
                                                                                                                                                        POLICIES
                   Polygamy/Polyandry                                                                                                                  ON BLACKS
             Blacks and the Priesthood                                                                                                                                                                POLYGAMY

        DNA and the Book of Mormon
     Masonic ties to temple ceremony
    Multiple versions of the First Vision                                                                                                                                            FAITH
            Women and the Priesthood
     Anachronisms in Book of Mormon
           Church positions on science
         Changes to temple ceremony
    Credibility of priesthood restoration
                      Blood atonement
          Book of Mormon Translation
                                                                                                                                                                 PAST
                      Adam-God theory                                                                                                                          POLICIES
                                                                                                                                                              ON BLACKS                       POLICIES
         Mountain Meadows Massacre                                                                                                                                                            TOWAR DS
                                                                                                                                                                             POLYGAMY           GAYS
Loss of Credibility the Three Witnesses                                                                                                                                                                     WOM EN’S
                     Kinderhook Plates                                                                                                                                                                       IS SU ES

     Joseph history of treasure digging
                Mark Hofmann scandal                                                                                                                                                 FAITH

                  View of the Hebrews
                                            0%          8%               15 %      23 %       30 %




       D I S C L O S U R E T O O T H E R PA R T I E S
                                                                                                                                                                                                          IES
                                                                                                                                                                                                     LI C    S
                                                                                                                                                              P                                   P O AR D
                                                                                                                                                           P O AST                                  O W S
                                                                                                                                                         O N LI C I                      A   MY    T
                                                                                                                                                                                                      GA
                                                                                                                                                                                                           Y            E N’S
                                                                                                                                                                                                                  WO M E S
      · In general, the believing spouse of a member experiencing a                                                                                         BL ES
                                                                                                                                                               AC
                                                                                                                                                                    KS
                                                                                                                                                                                PO
                                                                                                                                                                                     LYG
                                                                                                                                                                                                                   IS S U

        Faith Crisis tends to be aware of his or her struggling spouse’s
                                                                                                                                                                          BO OK
        Faith Crisis. Church leaders and friends tend to be less aware.                                                                                                     OF
                                                                                                                                                                               HAM     FAITH
                                                                                                                                                                         AB RA

      · Young members are least likely to disclose their Faith Crisis
         to Church leaders: only 2 of 203 teen respondents (less than 1
         percent) state their Church leaders know “most everything.”
      · Members in their 50s and 60s are least likely to disclose                                                                   An accumulation of several historical and social issues—not
         to their spouse (5 percent less likely than all ages).                                                                      just one single issue—often correlates to a loss-of-faith.
                                                                                                                                     When bearing a nominal amount of “shelf issues,” many members
       SOCIAL REPERCUSSIONS                                                                                                          continue with strong faith and active Church participation.
                                                                                                                                     Accumulating additional social and historical issues can lead to the
      · For those who disclose their Faith Crisis doubts, many report                                                            weakening—and then catastrophic failure of the member’s faith.
        feelings of “social excommunication” from LDS family and friends.
      · Over fifty percent of active members in Faith Crisis report moderate
        to severe cost to relationships and their individual emotional health.



                                                 Research Summary | 32                                                                                                   Research Summary | 33
                                                        Case 2:19-cv-00554-RJS   Document 110-1 Filed 10/22/21   PageID.2105        Page 18
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“It’s not any one                                                                                                 FEELINGS OF
 of these historical                                                                                              BETRAYAL
 issues, but the
                                                                                                                  For many, it’s not only the historical issues themselves, but the
                                                                                                                  sense of betrayal that accompanies the discovery of new information
                                                                                                                  that contradicts previous beliefs. The below quotes help illustrate


 accumulation of
                                                                                                                  the deep sense of disappointment and betrayal felt by many:




 them combined                                                                                                   “I defended the church to
                                                                                                                   associates who brought up some
 with the Church’s                                                                                                 historical issues. When I did my
                                                                                                                   own research, I found they were
 lack of addressing                                                                                                true. My issue wasn’t that they
 these concerns                                                                                                    were true but that my whole life
                                                                                                                   I was never told about them... I
 on their own.”
 RESPONDENT #105, ANONYMOUS MALE, IN HIS 30’S
                                                                                                                   felt betrayed by the church.”
                                                                                                                  RESPONDENT #732, ANONYMOUS FEMALE, IN HER 40’S




                                                                                                                 “I feel like I cannot trust the
                                                                                                                   general leadership on any
                                                                                                                   spiritual issues because they
                                                                                                                   cannot even be honest and
                                                                                                                   open about our past.”
                                                                                                                  RESPONDENT #597, ANONYMOUS FEMALE, IN HER 20’S




                                Research Summary | 34                                                                                            Research Summary | 35
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“The Church needs to be
  honest with its history and
                                                                                                                 SURVEY
  contradictions...instead they                                                                                  KEY FINDINGS
  make us who have discovered                                                                                    1. The significant majority of survey respondents
  the complicating facts look like                                                                                  represent long-term members who were
                                                                                                                    (until recently) actively engaged and
  the evil ones. I am shunned by                                                                                    holding leadership and other callings.
  my family. They think I am a                                                                                    2. Members in faith crisis tend to be
                                                                                                                     married, more educated than average, and
  liar and a deceiver when it is the                                                                                  earn higher-than-average incomes.
  Church and general authorities                                                                                  3. A little less than half of these disbelievers remain
                                                                                                                      active in the Church, while over half no longer attend.
  who have deceived us.”
 RESPONDENT #701, ANONYMOUS MALE, IN HIS 60’S                                                                     4. The majority of those who left did
                                                                                                                      so in the past seven years.
                                                                                                                  5. Among historical issues, the Book of Abraham
“The church leadership doesn't                                                                                       and Polygamy/Polyandry are the most
  match the level of honesty                                                                                          significant factors leading to loss-of-belief.

  they preach about in Church                                                                                     6. Although some factors rate higher than
                                                                                                                      others, respondents indicate the exposure
  manuals. I have no faith or                                                                                        to several factors (historical + social issues)
                                                                                                                      collectively led to their disbelief.
  trust in them anymore, and for
                                                                                                                 7. Spouses tend to be aware of the Faith Crisis issue.
  all they have done to me and                                                                                       Church leaders and friends tend to be less aware.
  my relationship with my wife,                                                                                   8. Members in Faith Crisis who attend Church
  I consider them my enemy.”                                                                                         regularly tend to suffer the most mental and spiritual
                                                                                                                      anguish as a result of their discovering these issues.
 RESPONDENT #1208, ANONYMOUS MALE, IN HIS 30’S
                                                                                                                  9. For many, Faith Crisis extracts an extremely
                                                                                                                     high cost in spousal and familial relationships.
                                                                                                                 10. A strong sense of betrayal often
                                                                                                                      accompanies a member’s loss-of-faith.



                                Research Summary | 36                                                                                    Research Summary | 37
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                                                                            STAGES
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           FA I T H C R I S I S S TA G E S                                                                                  THE TRUE BELIEVER


                                                         TRAUMATIZED                  EX / POST                                                                            TRAUMATIZED                    EX / POST
                                                         DISBELIEVER                  MORMON                                                                               DISBELIEVER                    MORMON

 TRUE                   TRAUMATIZED                                                                               TRUE                    TRAUMATIZED
BELIEVER                  BELIEVER                                                                               BELIEVER                   BELIEVER




             CATALYST                                                                                                          CATALYST




                                                         LESS-LITERAL                 SECULAR                                                                              LESS-LITERAL                   SECULAR
                                                           BELIEVER                  PARTICIPANT                                                                             BELIEVER                    PARTICIPANT




           Overview                                                                                                         The faith of a True Believer is “beautifully simple and simply beautiful.”
           Faith Crisis is a deeply personal experience that varies from                                                    For these True Believer members:
           member to member, although there are many similarities that define                                               ·G
                                                                                                                              od lives, and He loves us.
           the experience. The Faith Crisis Stages provide a framework to                                                   ·T
                                                                                                                              he scriptures are His word.
           better understand and articulate the Faith Crisis experience.                                                    ·C
                                                                                                                              hurch leaders (General Authorities) speak for God.
                                                                                                                            ·T
                                                                                                                              he LDS Church is the one and only true church on Earth.




                                      Faith Crisis Stages | 40                                                                                          Faith Crisis Stages | 41
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           T H E C A T A LY S T S T A G E                                                                                        lose Friend or Family Member in Faith Crisis
                                                                                                                                C
                                                                                                                                Many members who have passed through a Faith Crisis
                                                                                                                                may choose to share their faith concerns with close friends
                                                             TRAUMATIZED                     EX / POST
                                                             DISBELIEVER                     MORMON                             and family, which introduces difficult topics to others.
 TRUE                     TRAUMATIZED
BELIEVER                    BELIEVER
                                                                                                                                Non-Correlated Church Books
                                                                                                                                Scholarly Church books—written by faithful LDS authors—
              CATALYST                                                                                                          have inadvertently acted as a catalyst to learning about Church
                                                                                                                                history that does not align with our traditional narrative.

                                                                                                                                New Media
                                                                                                                                Being exposed to troubling historical information via New Media
                                                             LESS-LITERAL                 SECULAR
                                                               BELIEVER                  PARTICIPANT                            (Google, Yahoo, Bing, etc.) can act as a catalyst for Faith Crisis.

                                                                                                                                Social Media
           A Faith Crisis Catalyst is an event that can initiate and precipitate a                                              Social Media platforms such as Facebook, YouTube, and blogs actively
           loss-of-faith for a True Believer. Dozens of Faith Crisis catalysts exist.                                           facilitate the presentation of and discussion of Faith Crisis related topics.
           Common catalysts include:
                                                                                                                                Re-examination of Truth Claims via Social Issues
           A Teaching Calling or Assignment To Speak In Church                                                                  Members who struggle with the Church’s stances on some
           While attempting to fulfill a Sunday School or Seminary calling—or                                                   social issues (e.g., women’s roles, homosexuality, LDS cultural
           researching Sacrament Meeting talks—members turn to Google to                                                        idiosyncrasies, political conservatism) often use the social issue as
           research their topic. This often inadvertently exposes members to                                                    a catalyst to re-examine their faith. This “social issue” catalyst is
           historical and doctrinal information that deviates from the standard LDS                                             especially powerful with our under 35 members who often feel at
           narrative taught in our curriculum.                                                                                  odds with the Church’s approach to women’s issues and gays).


           Traditional Media                                                                                                    Re-examination of Truth Claims via Life Tragedy
           Traditional media such as CNN, PBS, Newsweek, and other news outlets                                                 Some members who experience personal tragedy (e.g., family-member
           have reported on controversial aspects of our history that often surprise                                            death, disability, divorce, etc.) use the tragedy as a catalyst to reevaluate
           and confuse lifelong, educated members of the Church. Entertainment                                                  the Church’s truth claims.
           media have also focused on our doctrine and history. For example,
           Comedy Central’s South Park aired an “All About Mormons” episode
           in which they describe the translation method of the Book of Mormon                                                  Less Likely Catalysts
           (along with other historical oddities). While many members who watched                                               While undoubtedly some members use a desire to sin as an excuse
           the episode rejected it as outright fabrication, many members were                                                   to “find a way out” of the Church, neither “sin” nor “being offended”
           disheartened to later learn that much of what was depicted by South Park                                             appears to be significant catalysts for these surveyed members.
           was more historically accurate than what is taught in our curriculum.




                                         Faith Crisis Stages | 42                                                                                             Faith Crisis Stages | 43
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New Media Examples                                                                                                          Social Media Examples




                                                        The top 3 of 4 “Joseph                                        SOCIAL MEDIA EXAMPLE 1
                                                        T  HREE O
                                                         Smith”       F FI R S T FO U R
                                                                    listings
                                                        L I S TI N G S I N C L U D E
                                                        Iinclude
                                                          N FO R Minformation
                                                                     A TI O N N O T
                                                        Inot
                                                          NCL  included
                                                                U D E D I NinTHthe
                                                                                 E
                                                        T R A D I TI O N A L L D S
                                                       TNtraditional
                                                          OAPRL  I ST I NLDS
                                                                          G
                                                               R A T I VE .
                                                       Enarrative.
                                                          X T RE M E L Y
                                                       C RI T I C A L




                                                                                                                      SOCIAL MEDIA EXAMPLE 2                           SOCIAL MEDIA EXAMPLE 3
                                                        T O P listing
                                                        Top   L I ST I N G
                                                        E X T RE M E L Y
                                                        extremely
                                                        The    I C A L critical
                                                        C RI Ttop-ranked
                                                       “polyandry” listing is
                                                        extremely critical
                                                                                                                           Some members unintentionally stumble upon Faith Crisis
                                                                                                                           catalysts via social media (three examples are shown above).
                                                                                                                           1) A
                                                                                                                               disaffected member uploaded a YouTube video that purports to
                                                                                                                              be the Primary song, A Child’s Prayer. A few seconds after an active
                                                                                                                              members begins viewing the video, the content abruptly switches to
                                                                                                                              showcase anti-Mormon messaging and links to an antagonistic website.
                                                                                                                           2) A team of disaffected members created the web site FutureMissionary.
                                                                                                                               com, which purports to be a resource with preparatory information
                                                                                                                               for future missionaries. The site, however, presents troubling
                                                                                                                               historical information aimed at “telling the truth” and eroding faith.

Unintentional (and intentional) access to troubling information                                                            3) As members view the faith-promoting video, “Thoughts on Girls —
is one or two clicks away from a simple Google search:                                                                        What Some LDS Young Men Think,” members are presented with
                                                                                                                               links to highly critical “related videos” that are designed to erode faith.

                           Faith Crisis Stages | 44                                                                                                      Faith Crisis Stages | 45
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Traditional Media Examples                                                                                            Dichotomous Statements Can Magnify Dissonance
                                                                                                                      During the Catalyst stage, many struggling members begin
                                                                                                                      experiencing cognitive dissonance—or feelings of discomfort—
                                                                                                                      when presented with data that contradicts their previous beliefs.
                                                                                                                      This dissonance can often be magnified by well-meaning
                                                                                                                      leaders who—in an effort to bolster faith—present dichotomous
                                                                                                                      messages that leave little room for nuance, error, or leader
                                                                                                                      fallibility. Examples of these dichotomous statements include:
                                                                                                                      · “It’s either true or false. If it’s false, we’re engaged in a great fraud. If
                                                                                                                           it’s true, it’s the most important thing in the world. Now, that’s the
                                                                                                                           whole picture. It is either right or wrong, true or false, fraudulent or
                                                                                                                           true.” Gordon B. Hinckley, Interview “The Mormons”; PBS,
                                                                                                                           April 2007
                                                                                                                      · “Mormonism, as it is called, must stand or fall on the story of Joseph
                                                                                                                           Smith. He was either a prophet of God, divinely called, properly
                                                                                                                           appointed and commissioned, or he was one of the biggest frauds
                                                                                                                           this world has ever seen. There is no middle ground.”
                                                                                                                           Joseph Fielding Smith, Doctrines of Salvation, 1954, vol. 1, p. 188




Traditional media often highlight the very best aspects of Mormonism, but
it also presents information to our membership that conflicts with our
correlated narrative. The media also advances web sites and organized
groups that are antagonistic towards the Church. Examples of this include:
· “By the end of his life, he had accrued some 30 wives, massive debt and
    hundreds of enemies. ‘I never told you I was perfect,’ he told his followers.”
    Soukup, Elise. “The Mormon Odyssey.” Newsweek Oct. 16 2005.
· “David Twede, a fifth-generation Mormon who lives in Florida, is
    the managing editor of MormonThink, one of the most influential
    of the many Web sites on which active and former Mormons
    debate church teaching. Such sites have drawn increased traffic
    as Mormons turn to the Internet to find answers to controversial
    questions about Mormon history and traditions that the church does
    not address.” Goodstein, Laurie. “Editor of Web Site May Face
    Mormon Excommunication.” The New York Times, Sep. 21, 2012.


                              Faith Crisis Stages | 46                                                                                                Faith Crisis Stages | 47
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           T R A U M AT I Z E D B E L I E V E R
                                                                                                                               Awareness of Challenging Scientific Issues
                                                                                                                               ·B  ook of Mormon anachronisms (e.g., horses, steel,
                                                             TRAUMATIZED                      EX / POST
                                                             DISBELIEVER                      MORMON                              chariots, Book of Isaiah, King James errors, etc.)
 TRUE                   TRAUMATIZED                                                                                            ·N  ative Americans having Asiatic DNA
BELIEVER                  BELIEVER
                                                                                                                               ·B  ook of Abraham text not matching the papyrus
                                                                                                                               ·A  ge of the earth (6,000 years old? No death on earth before the Fall?)
            CATALYST                                                                                                           · I mplausible scriptural accounts (e.g., Noah’s Ark,
                                                                                                                                 Jonah in Whale, Tower of Babel, etc.)
                                                                                                                               · Dark skin as a curse

                                                                                                                                Re-examination of Theology and Doctrine
                                                             LESS-LITERAL                     SECULAR                          · Apparent
                                                                                                                                          God-sanctioned genocide, sexism, racism
                                                               BELIEVER                      PARTICIPANT
                                                                                                                               · One
                                                                                                                                    true church with exclusive authority
                                                                                                                               · Taking
                                                                                                                                       all scripture literally
           After exposure to a Faith Crisis catalyst, many members enter
           the Traumatized Believer stage, which results in exposure to                                                        Re-examination of Cultural Issues
           many troubling facts and non-traditional points-of-view. This                                                       ·F
                                                                                                                                 eminist awareness and sympathies
           is a temporary stage that is quickly followed by either the                                                         ·H
                                                                                                                                 istorical racial inequalities
           Traumatized Disbeliever or Less-literal Believer stages.                                                            ·P
                                                                                                                                 ast and present stance on homosexuality
                                                                                                                               ·P
                                                                                                                                 olitical and social conservatism
           The Traumatized Believer can be described in these terms:                                                           ·C
                                                                                                                                 ulture of perfectionism

           Awareness of Difficult Church History                                                                                Confronting Spiritual Issues
           · Multiple, varying First Vision accounts                                                                           ·H  aving had a spiritual witness but not being able to reconcile it
           · Joseph’s use of folk magic and treasure digging                                                                   with new learnings
           · Book of Mormon translation (stone / hat)                                                                        · Never receiving a spiritual witness (after many sincere attempts)
           · Masonry and endowment connection                                                                                · Feeling bored, unfulfilled, or spiritually unedified in Church activity
           · Joseph’s credibility as a translator                                                                            · Feeling burnt-out / not good enough
           · Joseph’s polygamy / polyandry                                                                                   · Feeling spiritually led elsewhere
           · Kinderhook Plates
           · Denial of priesthood to blacks / racism                                                                          Re-examination of Institutional Issues
           · Perceived modified role of women’s rights                                                                       · Culture of unquestioning obedience
           · Mountain Meadows                                                                                                · Culture of patriarchy
           · Blood atonement                                                                                                 · Closed finances
           · Lying for the Lord                                                                                                · Questionable spending priorities (e.g., City Creek.)
           · Adam / God teachings
           · Priesthood restoration credibility issues                                                                        Members who pass through the Traumatized Believer stage
           · Post-manifesto polygamy                                                                                            tend to never return to the True Believer stage.
           · Lack of historical candor


                                         Faith Crisis Stages | 48                                                                                            Faith Crisis Stages | 49
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                                                                                                   of 71                      Thousands pass through the Traumatized Believer stage each year.

Cognitive Dissonance Creates a Drive for More Information
Once exposed to disturbing historical information, many Traumatized
Believers experience high levels of anxiety based on viewing information
that contradicts their existing beliefs. This cognitive dissonance leads many
to search for additional information to alleviate the conflicting beliefs.
At the onset of a Faith Crisis, many members search LDS.org for answers to
their concerns. However, many troubling historical issues are not addressed
substantively on the Church’s websites or in its curricula. Many struggling
members are then directed to traditional apologetics such as FAIR and
The Maxwell Institute. Unfortunately, these traditional apologetics often
do not provide a satisfactory counter of issues that lead to Faith Crisis.
Without access to Church provided answers and analysis, members turn to
uncorrelated or untrustworthy Internet sources. Some of these sources are
sympathetic to Church membership. Many are unsympathetic and critical.




        Traditional Apologetics
        not hitting the mark with this
        group of Faith Crisis members.




                                   Faith Crisis Stages | 50                                                                                       Faith Crisis Stages | 51
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           LESS-LITERAL BELIEVER                                                                                               S E C U L A R PA R T I C I PA N T


                                                            TRAUMATIZED                      EX / POST                                                                         TRAUMATIZED             EX / POST
                                                            DISBELIEVER                      MORMON                                                                            DISBELIEVER             MORMON

 TRUE                   TRAUMATIZED                                                                                 TRUE                   TRAUMATIZED
BELIEVER                  BELIEVER                                                                                 BELIEVER                  BELIEVER




            CATALYST                                                                                                           CATALYST




                                                            LESS-LITERAL                     SECULAR                                                                           LESS-LITERAL            SECULAR
                                                              BELIEVER                      PARTICIPANT                                                                          BELIEVER             PARTICIPANT




           Nuanced Belief                                                                                                      Loss-of-belief
           · Following the Traumatized Believer stage, many believe the gospel is                                            ·M  embers in the Secular Participant phase are often not able
              still mostly true, but the Church and its leaders have made mistakes.                                              to believe the defining Church claims and doctrines.
           · Members build (or rebuild) a “shelf” for unresolvable doubts and concerns.                                      ·T  hey enjoy the Church.
           · Many become“Buffet” Mormons by cleaving to doctrinal and cultural                                               · “ It works for me.”
              elements that spiritually work for them and ignoring those doctrinal                                            · “ I can’t find anything better.”
              and cultural elements that spiritually do not work for them.
           · For many, belief becomes more metaphorical and less literal.                                                     Challenges
           · Many remain active and participating members as                                                                 ·M  embers in the Secular Participant stage must often remain silent
              they believe “this is where God wants me.”                                                                         about their disbelief or risk negative social consequences.
                                                                                                                              · This inability to express their concerns often causes
            Challenges                                                                                                           members to feel inauthentic at Church.
           · While still remaining active, many members, unfortunately,                                                      · For some members in this stage, continued participation
              experience a decrease in their level of Church commitment.                                                         can lead to a building of internal pressure, which can
             (ceasing to pay tithing, decreased temple attendance, etc.).                                                        cause them to discontinue all Church activity.
           · They are often unable to confide in anyone, which can
              result in desperate loneliness and increased anxiety.
           · Many of these Less-literal Believers experience a difficultly feeling
              authentic in Church; and for many, this emotional distress and cognitive
              dissonance can result in the member transitioning to a less-believing
             Faith Crisis stage and disengage completely from the Church.




                                        Faith Crisis Stages | 52                                                                                           Faith Crisis Stages | 53
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           T R A U M AT I Z E D D I S B E L I E V E R                                                                          E X - / P O S T- M O R M O N


                                                            TRAUMATIZED                      EX / POST                                                                          TRAUMATIZED                       EX / POST
                                                            DISBELIEVER                      MORMON                                                                             DISBELIEVER                       MORMON

 TRUE                   TRAUMATIZED                                                                                 TRUE                    TRAUMATIZED
BELIEVER                  BELIEVER                                                                                 BELIEVER                   BELIEVER




           CATALYST                                                                                                            CATALYST




                                                            LESS-LITERAL                     SECULAR                                                                            LESS-LITERAL                      SECULAR
                                                              BELIEVER                      PARTICIPANT                                                                           BELIEVER                       PARTICIPANT




           Following the Traumatized Believer stage, members will migrate to either                                           The Ex- / Post-Mormon can be described in these terms:
           the Less-literal Believer stage or to the Traumatized Disbeliever stage. This
                                                                                                                              · For
                                                                                                                                    many, leaving the Church results in loss of family, friends, and job.
           is a temporary stage with most members quickly transitioning to the Ex- /
                                                                                                                              ·M any feel alone and isolated from family members and friends
           Post-Mormon phase. The Traumatized Disbeliever can be described in
                                                                                                                                who choose not to engage the disaffected member or attempt to
           these terms:
                                                                                                                                 resolve their concerns (this increases feelings of turmoil).
                                                                                                                              ·T urmoil and animosity increase when some Ex- / Post-Mormons feel
           Evaporation of Belief
                                                                                                                                 unjustly blamed for feeling victimized (e.g., active members imply they
           · For many, the loss-of-trust in the Church can translate into a
                                                                                                                                 have insufficient study habits, were offended, want to sin, or sinned, etc.).
              loss-of-faith in God, Jesus Christ, and all religious beliefs.
                                                                                                                              · In
                                                                                                                                 early stages, many engage in behaviors reactive to
           · Traumatized Disbelievers often hit “rock bottom.”
                                                                                                                                LDS restrictions (coffee, alcohol, chastity, etc.)
           · This stage can be very disturbing and unsettling for the struggling
                                                                                                                              ·M any spend months or years analyzing their disaffection and attempting
              member. Many have labeled this Faith Crisis stage the “dark night of
                                                                                                                                 to“tell the truth” to believing friends and family before completely
              the soul.”
                                                                                                                                 disengaging from the topic of Mormonism. The longer and more devoted
                                                                                                                                 a person to the Church, typically the more prolonged the transition
            Challenges
                                                                                                                                 from engaged Ex Mormon to completely disengaged Ex Mormon.
           · Vanishing of existential foundation (loss of purpose)
                                                                                                                              · Transitioning to the Ex Mormon stage requires the creation of:
           · Questioning life after death
                                                                                                                                   — New identity
           · Loss of identity and values
                                                                                                                                   — New moral framework
           · Fear of losing family, friends, social network, and job
                                                                                                                                   — New social community
           · Often unable to confide in anyone (can result in desperate loneliness)
                                                                                                                                   — Coping mechanisms for death and suffering
           · Anxiety, depression, and at times, suicidal thoughts
                                                                                                                              · Many feel life is better once they’ve left the Church.
                                                                                                                              · A minority of Ex Mormons remove their name from Church records;
                                                                                                                                 but many do not as they do not wish to unnecessarily offend
                                                                                                                                 believing family or “give legitimacy” to the Church institution.


                                        Faith Crisis Stages | 54                                                                                            Faith Crisis Stages | 55
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                                                                CYCLE OF
                                                           DISAFFECTION
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       O V E RV I E W

       While each Faith Crisis is unique, many commonalities exist that                                                  A Need for Greater Understanding
       define the experience. The goal of The Perpetual Cycle of Disaffection                                            Too often families, friends, spouses, and members label our
       graphic is to distill the Faith Crisis “vicious cycle” to its simplest                                            Faith Crisis members as pariahs and avoid them like the
       core. While this represents the worst case scenario, the majority of                                              plague—even when they’re just at the questioning stage.
       our Faith Crisis members experience at least several aspects of this
                                                                                                                         Just as important as why people leave is the question of what we do with
       cycle. The cycle is divided into three main trisectors: 1) Discover,
                                                                                                                         our doubting and disaffected Faith Crisis brothers and sisters. As outlined
       2) Disclosure & Distress, and 3) Disaffection & Disaffiliation.
                                                                                                                         poignantly by the Faith Crisis survey respondents: once a struggling
                                                                                                                         member starts heading out the proverbial Church door, we members often
                                                                                                                         make sure to slam the door firmly behind them. At the center of solving
3. DISAFFECTION &                                                           1. DISCOVER                                 our Faith Crisis challenge is the need to break this cycle of disaffection.
    DISAFFILIATION


                                                                                                                        “When learning more about Church
                                                                                                                          history and Joseph Smith, I felt the
                                                                                                                          church had knowingly deceived
                                                                                                                          me in order to maintain my beliefs.
                                                                                                                          I think the Church’s withholding
                                                                                                                          of information is an equal crime to
                                                                                                                          dishonesty and deceit, especially
                                                                                                                          when they are aware of their
                                                                                                                          importance it has in a member’s
                                                                                                                          life choices and psyche.”
                                                                                                                         RESPONDENT # 1680, ANONYMOUS MALE, IN HIS 40’S




                          2. DISCLOSURE & DISTRESS




                              Perpetual Cycle of Disaffection | 58                                                                                  Perpetual Cycle of Disaffection | 59
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       S T E P 1 : I N I T I AT I O N
                                                                                                                          “After researching Book of
       The mass majority of online information designed
       to erode the faith of others is created by disaffected
                                                                                                                            Abraham issues in an attempt to
       members or former members of the LDS Church.                                                                         resolve some concerns of a family
                                                                                                                            member, I quickly realized from
                                                                                                                            reviewing the topical index at
                                                                                                                            fairlds.org that there was much in
3. DISAFFECTION &                                                             1. DISCOVER
                                                                                                                            the history that I did not know.
    DISAFFILIATION                                                                                                          As a result, I decided for the first
                                                                                                                            time in my life to examine the
                                                                                                                            church objectively through the
                       Active member hears                                                                                  lens of logic and critical thinking.
                     about troubling elements                                                                               None of my supernatural beliefs
                    of Church history, theology,                                                                            survived that examination.”
                        and culture from a                                                                                 RESPONDENT #2296, ANONYMOUS FEMALE, IN HER 30’S


                       disaffected member.




                            2. DISCLOSURE & DISTRESS




                                Perpetual Cycle of Disaffection | 60                                                                                 Perpetual Cycle of Disaffection | 61
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       STEP 2: SEARCH
                                                                                                                        “Do you expect me to believe
       When members are faced with disproving or refuting anti-Mormon claims,
       many first turn to LDS.org, which unfortunately has limited information
                                                                                                                          that my four sisters and I could
       on the majority of the difficult topics. Not finding satisfactory answers,                                         go to church from primary
       members turn to Google to refute the difficult claims they have heard.
                                                                                                                          through seminary and BYU and
                                                                                                                          not know how our own Book of
                                                                                                                          Mormon was produced? Please
3. DISAFFECTION &                                                           1. DISCOVER
                                                                                                                          stop with the apologetics as
    DISAFFILIATION                                                                                                        well. FAIR and the Maxwell
                                                                                                                          Institute contributed to my
                                                                                                                          leaving the church. Sincere
                                                                                                                          believing members want to hear
                     Active member searches                                                                               [about troubling issues] from
                     for information to refute                                                                            the leaders they set apart as
                          new information.                                                                                prophets, seers and revelators.”
                                                                                                                         RESPONDENT #2122, ANONYMOUS MALE, IN HIS 40’S




                           2. DISCLOSURE & DISTRESS




                              Perpetual Cycle of Disaffection | 62                                                                                  Perpetual Cycle of Disaffection | 63
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       S T E P 3 : T R O U B L I N G D I S C O V E RY
                                                                                                                        “My loss of belief has as much
       Many believing members disregard disturbing historical and doctrinal
       claims as “anti-Mormon lies” that have no merit or are exaggerated to
                                                                                                                          to do with how the church dealt
       the point of lunacy. While there are plenty of unfounded claims against                                            with or is dealing with these
       the Church, many of the most prominent anti-Mormon claims have been
       verified by faithful Church historians as having merit.                                                            issues as much as it is the issues
                                                                                                                          themselves. Also, there is no
                                                                                                                          ‘primary’ factor for my loss-of-
3. DISAFFECTION &                                                           1. DISCOVER
                                                                                                                          belief. My testimony suffered a
    DISAFFILIATION                                                                                                        death by a thousand cuts.”
                                                                                                                         RESPONDENT #2249, ANONYMOUS MALE, IN HIS 30’S




                                                                                                                        “The problem is we have NO
                     Active member finds the                                                                              WHERE to go for official answers.
                     disaffected member was                                                                               You do a search on LDS.org for
                        accurate in many of                                                                               polygamy and get a talk from
                            their claims.                                                                                 Elder Ballard about why people
                                                                                                                          should stop asking us about it.”
                                                                                                                         ANONYMOUS FEMALE VIA FACEBOOK




                          2. DISCLOSURE & DISTRESS




                              Perpetual Cycle of Disaffection | 64                                                                                  Perpetual Cycle of Disaffection | 65
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       S T E P 4 : B E T R AYA L
                                                                                                                          “I learned the dishonesty was
       When a member discovers facts that contradict the existing historical
       narrative, she feels a strong sense of betrayal. Many members in Faith
                                                                                                                            systematic and institutional,
       Crisis attribute this high sense of betrayal to the high level of trust they                                         euphemized as ‘correlation,’ on
       placed in the Church. For many, equal to the difficult historical issues
       themselves is the loss-of-trust in the Church and feelings of betrayal.                                              the part of what I had believed
                                                                                                                            to be God’s church—the only
                                                                                                                            true and living church upon the
3. DISAFFECTION &                                                             1. DISCOVER
                                                                                                                            face of the whole earth with
    DISAFFILIATION                                                                                                          which God was supposedly
                                                                                                                            well pleased. Indeed, the
                                                                                                                            very church which burned the
                                                                                                                            principle of honesty into my soul
                         Active member feels                                                                                as a youth, the church which
                         betrayed thinking the                                                                              required me to be ‘honest in all
                         Church “hid the truth.”                                                                            my dealings,’ and the church to
                                                                                                                            which I had confessed my darkest
                                                                                                                            indiscretions in an attempt to
                                                                                                                            remain honest before God—
                                                                                                                            this same church simply has not
                                                                                                                            told the truth about itself.”
                                                                                                                           RESPONDENT #2241, ANONYMOUS MALE, IN HIS 30’S



                            2. DISCLOSURE & DISTRESS




                                Perpetual Cycle of Disaffection | 66                                                                                  Perpetual Cycle of Disaffection | 67
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       S T E P 5 : H A R S H T R E AT M E N T                                                                          Harsh Responses by Loved Ones
                                                                                                                       When struggling members disclose their Faith Crisis, they are often met
       Whether it’s our innate desire to defend the Church—or our                                                      with harsh, “shame and blame” responses that further alienate them
       desire to avoid information that contradicts our standard LDS                                                   from loved ones. The following actual responses illustrate this point:
       narrative—the most common LDS response to an active member
       posing difficult questions is one of defense and dismissal                                                       · What covenant are you breaking?
       (see listing of actual responses on the following page).
                                                                                                                        · You must want to sin.
                                                                                                                        · Who has offended you?
3. DISAFFECTION &                                                          1. DISCOVER                                 · Are you clinically depressed?
    DISAFFILIATION
                                                                                                                        · You’re not worthy to be a parent
                                                                                                                          if you’re questioning this.
                                                                                                                        · I must have raised you poorly.
                      Active member shares                                                                              · I would rather see you dead than
                       concerns with family                                                                                see you lose your testimony.
                        and friends and is                                                                              · Stop reading and thinking
                         treated harshly.                                                                                  about these historical issues.
                                                                                                                        · Your concerns are anti-Mormon
                                                                                                                          lies and are meritless.
                                                                                                                        · It’s your own fault you’re struggling.
                                                                                                                          Nothing has been misrepresented.
                                                                                                                        · Your IQ just dropped 30 points
                                                                                                                          for questioning these things.
                          2. DISCLOSURE & DISTRESS
                                                                                                                        · Your discontent is part of the latter-
                                                                                                                           day “inner cleansing” of the Church.

                             Perpetual Cycle of Disaffection | 68                                                                             Perpetual Cycle of Disaffection | 69
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       S T E P 6 : D I S TA N C I N G                                                                                    Lack of Empathy
                                                                                                                         For many, it’s less about us answering difficult historical questions
       Many struggling members and active members experience a                                                           than it is about how we treat their doubt. Many yearn for—but
       schism in their relationship. This is often aggravated by the                                                     do not receive—acknowledgement of their struggles.
       struggling member’s over-reaction to the belief they have                                                         Lack of Official LDS Acknowledgement
       been treated harshly and unjustly persecuted for simply asking                                                    The lack of official LDS acknowledgement of difficult issues—
       questions and disclosing historically accurate information.                                                       and the lack of clear position statements—often aggravates
                                                                                                                         and discourages those suffering from Faith Crisis.


                                                                                                                        “I found there were times I turned
3. DISAFFECTION &                                                           1. DISCOVER                                  to loved ones for comfort and
    DISAFFILIATION
                                                                                                                          support and instead found drama
                                                                                                                          and debate. It’s already isolating
                                                                                                                          to feel your faith crumble beneath
                       Family and friends                                                                                 you. People shouldn’t make it
                      distance themselves                                                                                 worse by treating you poorly.”
                    emotionally and physically                                                                           ANONYMOUS FEMALE VIA FACEBOOK



                      from active member.                                                                               “In my experience, these are
                                                                                                                          heartfelt questions from people
                                                                                                                          having honest skepticism who
                                                                                                                          are then met with judgement,
                                                                                                                          accusations, and everything but
                                                                                                                          satisfactory answers. Telling
                          2. DISCLOSURE & DISTRESS
                                                                                                                          me my concerns are all lies or
                                                                                                                          half truths (when they’re not) is
                                                                                                                          what discourages me the most.”
                                                                                                                         ANONYMOUS MALE VIA FACEBOOK




                              Perpetual Cycle of Disaffection | 70                                                                                Perpetual Cycle of Disaffection | 71
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       S T E P 7 : A N G E R M A G N I F I C AT I O N                                                                   Denial of Difficult Issues
                                                                                                                        While the Internet does include false information masked as anti-Mormon
       Members in Faith Crisis who believe they are being wrongfully punished                                           facts, many troubling issues have been verified by faithful Church
       for “following the truth” become even more incensed at the Church from                                           scholars. When members and leaders make broad statements denying the
       the resulting strain and damage to their familial relationships.                                                 validity of Internet Faith Crisis issues, struggling members often become
                                                                                                                        even more despondent as active members then use this “there is no
                                                                                                                        problem”justification to discount the concerns of their struggling family and
                                                                                                                        friends. These combine to further push struggling members from the Church.
                                                                                                                        The Facebook quote below is, unfortunately, a commonly felt
                                                                                                                        sentiment to members and leaders who state or imply that there
                                                                                                                        are no credible historical criticisms to be found on the Internet.
3. DISAFFECTION &                                                          1. DISCOVER
    DISAFFILIATION
                                                                                                                       “ Our Church leaders should say:
                                                                                                                         · I acknowledge your pain and
                                                                                                                            concerns about this problem.
                        Feelings of betrayal
                       over historical issues
                                                                                                                         · Here’s the correct answer or
                      are magnified by anger
                                                                                                                            way I reconcile this problem.
                         at loss of familial
                           relationships.                                                                               Instead they say:
                                                                                                                        · There is no problem.
                                                                                                                        · If you think there’s a problem, it’s
                                                                                                                           your fault for making it a problem.
                                                                                                                        · Repent for making it a problem.”
                                                                                                                        ANONYMOUS MALE VIA FACEBOOK




                          2. DISCLOSURE & DISTRESS




                             Perpetual Cycle of Disaffection | 72                                                                               Perpetual Cycle of Disaffection | 73
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       STEP 8: COMPLETED CYCLE-OF-DISAFFECTION
                                                                                                                         “My wife divorced me because
       Levels of disaffection and resentment vary greatly among those who
       experience a Faith Crisis. On the far extreme, some disaffected members
                                                                                                                           she held the church above our
       literally devote their entire lives to battling the Church and “proclaiming                                         marriage. Being truthful about
       the truth” to the active membership. Unfortunately, many of these
       disaffected members—through the Internet and social media—are seeing                                                the facts of science and fairness
       substantial success in their efforts.                                                                               destroyed my marriage...The first
                                                                                                                           law of heaven should be love not
3. DISAFFECTION &                                                            1. DISCOVER
                                                                                                                           obedience!”
    DISAFFILIATION                                                                                                        RESPONDENT #2092, ANONYMOUS MALE, IN HIS 50’S




                                                                                                                         “A Facebook friend posted a
                           Active member                                                                                   derogatory comment about
                         becomes disaffected                                                                               Joseph Smith. I started refuting
                         member and shares                                                                                 her comment. She sent me links
                         their pain and anger                                                                              to very credible sites. Within a
                              with others.                                                                                 month, I realized I had lived a lie.
                                                                                                                           My husband was Bishop, and I
                                                                                                                           was Primary President at the time.
                                                                                                                           It’s been a tough couple of years,
                                                                                                                           but our kids are thriving outside
                                                                                                                           of the church.”
                                                                                                                          RESPONDENT #2084, ANONYMOUS FEMALE, IN HER 30’S

                           2. DISCLOSURE & DISTRESS




                               Perpetual Cycle of Disaffection | 74                                                                                  Perpetual Cycle of Disaffection | 75
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                                                                          PROFILES
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                                                         FAITH-CRISIS-
                                                         STORY SURVEY
                                                          IMPETUS & METHODOLOGY

                                                          To bring the Faith Crisis challenge to life in human terms, our research
                                                          team developed an online-based anonymous survey to collect first-person
                                                          Faith Crisis narratives. The survey collected demographic and Church
                                                          service data and allowed participants to submit a summary of their Faith
                                                          Crisis experience. The survey launched in May 2013 and was distributed
                                                          via social media. The average participant spent 45.81 minutes completing
                                                          the survey. Over a thousand stories were collected in the survey’s first few
                                                          hours from participants in North America, Europe, Asia, and Oceania.

                                                          Survey participants were encouraged to express themselves using 700
                                                          words or less and were asked to consider addressing the following points:

                                                          1. The type of faith you had prior to your loss-of-faith
                                                             (e.g., fully active, semi-active, non-active)?
                                                          2. What is the reason or reasons for your loss-of-faith?
                                                          3. How you felt and what you experienced as a result of your loss-of-faith?
                                                          4. H
                                                              ow have others (family, friends, ecclesiastical
                                                             leaders) responded to your faith crisis?
                                                          5. H
                                                              ow you would describe your current belief and
                                                             relationship with the LDS Church?
                                                          6. W
                                                              hat might have prevented your faith crisis in the first place?
                                                          7. What, if anything, might help rebuild your faith?

                                                          A sampling of the provided stories is included on the following pages.
                                                          All captured stories can be provided upon request.




                                                                                       Faith Crisis Profiles | 79
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ANONYMOUS FEMALE: AGE 50 - 64

                                                                                                                   left because of the dishonesty regarding church history, Book of Abraham
 household income:        $200,000+
                                                                                                                   issues, DNA problems, and other issues with the Book of Mormon.
 education level:         College Graduate
                                                                                                                   If the church had been honest with their history and other details from
 member type:             Life-long member                                                                         their past, I would have loved learning about these as I was growing up
 prior to crisis:         Full Tithe Payer, Regular Attendance at                                                  and when I was older. It would have made the church leaders feel more
                          Sacrament Service, Temple Recommend                                                      human and full of integrity for me to know their faults and mistakes
                          Holder, Adherence to the Word of Wisdom                                                  along with their good qualities. It would have given me hope when
                                                                                                                   I also made mistakes and tried to repent. I would not have stopped
 callings held:           Young Women’s Presidency, Young Women’s
                          President, Relief Society Presidency, Relief                                             attending if the church had simply been honest with me. I believe if
                          Society President, Primary Presidency, Primary                                           they start doing this, they may be able to stop the hemorrhaging of some
                          President, Spouse of Bishopric, Temple Worker                                            of their best, most valiant, most educated, and most hard working and
                                                                                                                   devoted members. They are definitely losing some of their strongest
I was never inactive prior to learning the true church history. I was                                              members and this will continue because the true information is so
born in the covenant, faithful in my youth, attended BYU, married a                                                readily available to all now. Also, this is affecting new baptism rates
returned missionary in the temple and raised my children in the church                                             tremendously because no one will join a church requiring the time
(both of my sons went on missions). I was always a full tithe payer. I                                             and money demanded by the LDS church without at least doing a
never missed church and even attended when on vacations by finding                                                 Google search. Who wants to join a church that is not honest?
the nearest church to wherever we were at the time. I held nearly every
                                                                                                                   I miss a great deal of what I had when I was an active member of
leadership position a woman can hold in the church and served faithfully.
                                                                                                                   the church, but the truth is very important to me. So is integrity
My awakening began with hearing some things about Joseph Smith’s                                                   and honesty. I will not go back unless the church leaders start
polygamy and went online to prove these things wrong. I quickly                                                    implementing honest information and discussions about its past.
learned that they were in fact the truth and then proceeded to
learn about Joseph Smith and others’ polyandry, too. That was the
beginning of my journey into discovering all of the church history that
had been whitewashed and kept hidden from me during all of my
faithful years. After this, I simply could not support an organization
that demanded complete 100% honesty from me when they had
and continued to be extremely dishonest in their teachings and
lessons (especially regarding church history and past doctrines).
My husband, who was also extremely active and had held numerous
leadership positions, felt like I did once he discovered the truth. Two of
my four children have also left the church and the other two are working
their way out now, too. Out of seven of my siblings (all serving missions
and marrying in the temple), only one of them is still active (and they are
only semi-active due to their spouse wanting to attend). All of them have




                            Faith Crisis Profiles | 80                                                                                         Faith Crisis Profiles | 81
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ANONYMOUS MALE: AGE 35 - 50

                                                                                                                   you find out that the simple picture in many ways is not supported by
 household income:        $200,000+
                                                                                                                   facts and history. In fact, some times an opposite picture is presented.
 education level:         Graduate School
                                                                                                                   What does it mean that a prophet won’t lead us astray? I
 member type:             Life-long member                                                                         used to think something differently than I do today.
 prior to crisis:         Full Tithe Payer, Regular Attendance at                                                  What does it mean that the Book of Mormon contains the fullness
                          Sacrament Service, Temple Recommend                                                      of the gospel and is the most correct book on earth? Gospel lessons
                          Holder, Adherence to the Word of Wisdom                                                  in Sunday School teach a very different picture than reality.
 callings held:           Full-time Missionary, Temple Worker, Gospel                                              What does it mean when we support Joseph Smith as a seer
                          Doctrine Teacher, Young Men’s Presidency,                                                and able to translate ancient documents? The Book of Abraham
                          Young Men’s President, Ward Mission Leader,
                                                                                                                   paints a very different picture than what reality supports.
                          Elder’s Quorum Presidency, High Priest
                          Leader, Stake Auxiliary Calling, Bishopric                                               I still have a “testimony.” But it no longer looks like anything that I was
                          Councilor                                                                                taught in church. I’ve had to redefine it in order to be honest with myself.
                                                                                                                   The one thing the church could do is to be honest with its members.
I am a born in the covenant, life long member of the church. My
                                                                                                                   I have too many examples where dishonesty exists in the church
large family includes bishops, stake presidents, temple presidents,
                                                                                                                   leaders for sake of being faith promoting. They look deceitful when
stake patriarchs. Up until my mid 40s, I was a fully in, believing
                                                                                                                   they are not being open. When someone only give part of the truth
member of the church. I served a mission and have always fulfilled
                                                                                                                   and lets someone believe something that is not true, even when
any calling or responsibility given to me to the best of my ability.
                                                                                                                   they were only silent in not sharing the information, it looks like
I married my high school sweetheart and we have raised our children                                                they are disingenuous. It looks like they are being dishonest.
in the church. All of my siblings have gone on missions with the
                                                                                                                   If the church would face this hard fact, it would make it much easier
exception of one sister and all have been married in the temple.
                                                                                                                   to be an active Mormon with an unorthodox testimony. Especially
I was aware that their are issues with church history and the evolution of                                         when that unorthodox testimony is two steps closer to the truth than
church doctrine. At the age of 31, I made the decision to not worry about                                          the orthodox testimony taught every Sunday in Gospel Doctrine.
any of those issues. I chose to emphasize my spiritual experiences and
                                                                                                                   I continue to be an active member. I continue to hold a senior leadership
live by faith. I saw miracles on a regular basis, so what more did I need?
                                                                                                                   position in my ward. I continue to pay tithing, and I continue to live to the
At the age of 46, my oldest returned missionary son came to me and                                                 external principles I have been taught (i.e., word of wisdom). But through
told me he no longer believed. In order to save his eternal soul, I                                                the dishonesty, my heart and allegiance no longer belong to the church.
decided to delve deeply into the issues of the church in order to find
                                                                                                                   Thank you for doing this. I wish you all the best to help resolve
the “real” answers and help my son regain his testimony. But what
                                                                                                                   this problem that the church is not true the way they teach that
happened is, I found out, that the “real” answers pointed away from
                                                                                                                   they are true. It is a difficult challenge to fess up when you have
the truthfulness of the church’s truth claims. I am not saying the
                                                                                                                   been wrong. But great things come from being honest with
church is not true. But here is the key point. The church teaches a very
                                                                                                                   yourselves first and then being honest with those around you.
simplified version of the truth. The purpose of this appears to be faith
promoting and to simplify the message for a world wide church. But                                                 Do what is right and let the consequences follow.
when you get into the detail of the foundation below that message,



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ANONYMOUS MALE: AGE 25 - 34

                                                                                                                   The idea that the book was received as a revelation and the papyrus was
 household income:        $200,000+
                                                                                                                   just a catalyst seems to be a weak rationalization, as Joseph obviously
 education level:         Doctorate                                                                                thought he was translating—did God lie to him? Also, Joseph’s polyandry
 member type:             Life-long member                                                                         even though D&C 132 specifically says “virgins” just made me question
                                                                                                                   Joseph even more (and let’s not get started on Danites). One or two issues
 prior to crisis:         Full Tithe Payer, Regular Attendance at
                                                                                                                   can be pushed aside, but there just appear to be too many to believe.
                          Sacrament Service, Temple Recommend
                                                                                                                   Learning all of this lead to two contradictory feelings: disappointment
                          Holder, Adherence to the Word of Wisdom
                                                                                                                   that the Gospel isn’t true, and relief, because some things in the Gospel
 callings held:           Full-time Missionary, Gospel Doctrine                                                    I’d felt had always required me to shut my brain off for and I wouldn’t
                          Teacher, Elder’s Quorum Presidency, Elder’s                                              have to do that anymore (for example, how literally Bible stories are
                          Quorum President
                                                                                                                   portrayed/believed, authorship of much of the New Testament).
I have always been a fully active member of the Church—I served a                                                  My wife is upset at my loss of faith. We haven’t told anyone
full-time mission, graduated from Institute, and married in the temple.                                            else yet. She continues to believe, and as a result, I continue to
Church history and doctrine (they seem very intertwined) have always                                               be fully active, even though I don’t believe. I don’t mind—I’m
been interesting to me, so I’ve spent a significant amount of time reading                                         not angry at the Church like some people are. There are good
about both (Nibley, Rough Stone Rolling, FARMS, Teachings of the                                                   people in the Church, and it has a strong community.
Prophet Joseph Smith, etc.). I always knew there were some troubling                                               It’s hard to know how my faith crisis could have been prevented,
aspects of Church history and beliefs, but my impression was always                                                or what might help me rebuild my faith. The facts appear to be
that they were minor and, if not necessarily easily answered, at least                                             what they are, and they do not logically add up to the Church being
easily ignored. Reading Nibley and the other FARMS works definitely                                                the one and only true church. I never had a spiritual experience
gave me that impression (e.g. we may not know who the Nephites and                                                 strong enough to ignore this logic, despite desiring to.
Lamanites were, but look at all this indirect evidence of their existence!).
                                                                                                                   There are some things that could make being associated
I recently found myself (inadvertently, actually) on the MormonThink                                               with the Church more palatable after my faith crisis. I don’t
website. It looked interesting, and I figured that any questions they might                                        expect the Church would do any of these suggestions.
bring up would fit into either the easily answered or easily ignored group.
                                                                                                                   1. Back off from the “one and only true church” rhetoric. Accept that
I was surprised to find that few of the issues presented fit into those
                                                                                                                       only a vanishingly small number of people will ever be Mormons,
groups. I never had any problem accepting that there was no evidence
                                                                                                                       and people can still be good and happy without the gospel (and
in favor of the Book of Mormon—I could accept its historicity on faith.
                                                                                                                       conversely, some people are not happy despite having the gospel).
However, discovering that the physical evidence wasn’t just lacking, but
was directly contradictory to the Book of Mormon (no horses, no chariots,                                          2. Be more honest about the Church’s history. The Church tends
not an empty continent but no Israelites mentioned, no Middle Eastern                                                  to focus solely on the faith promoting, and seems to worry
DNA among any American Indian tribes) made me doubt its truth. I had                                                   more about how the Church is perceived than about what is
already known that the Church was in possession of the Book of Abraham                                                 true. I would expect God’s church to exemplify honesty.
papyrus, and that it didn’t match up with Joseph’s translation, but I’d                                            3. People who drink are not bad people. Bare shoulders are not immodest.
never spent time thinking that through. Joseph’s translation is abysmal,                                               Focus more on how we treat each other than on outward appearance.
and the facsimiles are actually embarrassing (the goddess Isis is Pharaoh?).



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ANONYMOUS FEMALE: AGE 25 - 34

                                                                                                                  I had to kill something inside of myself every time I bowed my head and
 household income:       $100,001 - $150,000
                                                                                                                  said “yes.” I was distraught for days afterward. I had to get a blessing
 education level:        College Graduate                                                                         from my husband to calm down. At this point it did not cross my mind to
 member type:            Life-long member                                                                         question the church, but rather God. How could a God who sees me as
                                                                                                                  being as much of a human as my husband, and values my autonomy—MY
 prior to crisis:        Full Tithe Payer, Regular Attendance at
                                                                                                                  AGENCY—as much as his, require this of me? Was I really just meant
                         Sacrament Service, Temple Recommend
                                                                                                                  to be an extension of my husband for eternity? As much as people at
                         Holder, Adherence to the Word of Wisdom
                                                                                                                  church say men and women are equal, the temple does not reflect this.
 callings held:
                                                                                                                  That was the beginning. I tried so hard to make things fit. But my
                                                                                                                  husband and I weren’t looking to find things wrong with the church.
Before my crisis started, I would have done anything to
                                                                                                                  We only wanted to do what we had been taught: study, learn, find the
show my faith and follow church instruction. I agonized
                                                                                                                  truth and believe in it. We dove into church history. We studied the
over whether I was reading my scriptures well enough,
                                                                                                                  scriptures in proper context. We studied the words of the prophets.
fasting prayerfully enough, willing to sacrifice enough.
                                                                                                                  And layer by painful, exhilarating layer, our old beliefs were stripped
The first little changes started after I’d been at BYU for about a                                                away. What was worse than finding out the facts was finding out how
year and I started to realize how superficial and judgmental people                                               the church consistently whitewashes its history and teaches people
(including myself) were over things like how people dressed. I was in                                             that things are simple when they are not, that they have always
Anthropology, and saw that standards of modesty and beauty actually                                               been the way they are at this moment when they have not, that
vary from culture to culture, and could not bring myself to believe                                               leaders can’t make mistakes when history shows the opposite. If the
that ours was the only righteous way. I saw that to reject an entire song                                         church were honest and realistic about past mistakes and history,
or movie because of a swear word was simplistic, and contributed to                                               and truly willing to show it is the church of continuing revelation it
keeping my mind simplistic. We must be presented with situations that                                             makes itself out to be, I would be more comfortable attending.
are upsetting, ones that force us to think, in order to stretch ourselves
                                                                                                                  Another distressing problem is the way church lessons focus on outward
and learn new things instead of just regurgitating what we’ve been
                                                                                                                  observances, and measure faith by inches (sometimes literally) instead
handed. My education in this area continued when I switched to theater
                                                                                                                  of teaching love, acceptance, and charity like Christ did. It doesn’t
(after losing motivation when an Archaeology professor told the class
                                                                                                                  matter what the manuals actually say. This is how nearly every single
it was a bad profession for mothers; an event that contributed further
                                                                                                                  lesson trends. I went through a whole lesson on “Living Your Religion”
to my disillusionment later on. I had wanted to be an archaeologist
                                                                                                                  once where the teacher focused completely on wearing the right
ever since I could remember). If progression is knowledge, then
                                                                                                                  things, eating the right things, and consuming appropriate media.
how does fearing to question and stretch cause us to progress? How
can just doing as we’re told accomplish the things God supposedly
sent us here to do? These questions were already forming when I
experienced the major catalyst in my faith transition: temple marriage.
If my bishop hadn’t warned me ahead of time that I would have to swear
to harken to my husband, I might not have made it through the ceremony.
As it was, I cried. And cried. Then and every time I went back, I felt like



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ANONYMOUS FEMALE: AGE 25 - 34

                                                                                                                    (which was horrible, unfeeling, inappropriate,etc.), but what they should
 household income:        $50,001 - $100,000
                                                                                                                    have said, or what they meant. I’ve been on the other side. I know that
 education level:         College Graduate                                                                          they love me and fear for my immortal soul. They actually believe that
 member type:             Life-long member                                                                          I am led away by Satan and deceived, and they are trying to save me.

 prior to crisis:         Full Tithe Payer, Regular Attendance at                                                   Since then, three of my siblings have left the church, so the evil
                          Sacrament Service, Temple Recommend                                                       apostates are now the majority. If the church had been more open
                          Holder, Adherence to the Word of Wisdom                                                   about its unsavory history, I think that might have prevented
                                                                                                                    my faith crisis, but it’s a fine line to walk: teach too much, and
 callings held:
                                                                                                                    people leave because of the early doctrines; teach too little and
                                                                                                                    when people find out about the deception, they leave.
I was in my early 20s when I left the church. I was very active, attending
all my meetings, fulfilling young single adult callings. I graduated from                                           At this point, there is nothing that could restore my faith. I am a
BYU. I started reading Mormon history as a way to help a friend of mine                                             much happier, more fulfilled person outside of the church.
who had questions about Mormon beliefs. The more I read, the more
I found that “anti-mormon” sources were historically accurate and well
documented, while “faithful” sources obscured the truth or flat out lied.
That was the final straw for me; there are historical or doctrinal issues that
you can spin apologetically, but the fact that the church lies about it...
I couldn’t talk to friends or family about my faith crisis. I sat through
all the same lessons and I knew how apostates were treated or thought
of. I read a ton, both faithful and non faithful sources. I was on a ton
of different online groups. I got attacked in the Mormon chat rooms,
even though my questions were sincere and I hadn’t yet decided to
leave the church. I was called anti-Mormon and a sinner. I was reading
about Mormon history at least 8 hours a day. I wasn’t sleeping. My
mom died when I was 15, and I can say unequivocally that my faith
crisis was worse. When you are a faithful Mormon, it’s your whole
identity. I had nothing. I was nothing. It was a very bad year or so.
I was able to keep my disaffection from my family for a long while. I
lived far away from them. The church still found me. The missionaries
told me I was proud and rebellious and just wanted to sin. An old young
women’s leader told me my dead mother would be ashamed of me.
When my family found out, my grandmother said I was too lazy to be a
Mormon, and my sister wouldn’t see me for a couple of years. Luckily, by
the time I was having these conversations with my family, I was (mostly)
not angry anymore. This allowed me to respond, not to what they said



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ANONYMOUS MALE: AGE 35 - 50

                                                                                                                  of Discourses, Doctrines of Salvation, Lectures on Faith, Teachings of
 household income:       $100,001 - $150,000
                                                                                                                  the Prophet Joseph Smith, Doctrines of Salvation, Mormon Doctrine,
 education level:        College Graduate                                                                         and so many more. I studied more to “prove” that what I had known
 member type:            Life-long member                                                                         was really the truth...that those discrepancies were really all in error. I
                                                                                                                  even limited myself to just the books written by General Authorities.
 prior to crisis:        Full Tithe Payer
                                                                                                                  Yet the more I studied, the more evidence surfaced that brought me
 callings held:          Gospel Doctrine Teacher, Young Men’s                                                     to a conclusion that I never expected and more importantly DID
                         Presidency, Ward Mission Leader, Elder’s                                                 NOT SEEK. Fundamental confirmation was realized and the truth
                         Quorum Presidency, Stake Auxiliary Calling,                                              became painfully obvious. I eventually arrived at a point where I
                         Bishopric Councilor
                                                                                                                  couldn’t reconcile the disparity between what the church taught
I became an avid student of history (early Christian, LDS and American)                                           as its history, its true history, and the evolution of its doctrine.
shortly after returning from my mission. This desire sprang forth after                                           I felt an incredible sense of betrayal. Especially when I was expected
attending the “Know Your Religion” series, consisting of academic guest                                           to “be honest in my dealings with my fellow man,” when the very
speakers over a period of several years. Yet during my LDS studies,                                               organization asking me at my temple recommend interview was
I encountered numerous discrepancies in history or doctrine. I either                                             not honest in its correlated doctrinal and historical teachings.
researched and accepted the apologist answers or “set it on my mental                                             I generally find that my family and friends to be supportive. My local
shelf” to analyze later. This was easy, as I was a member of FARMs                                                ward leadership are convinced that I have either “sinned, desire to
and reviewed FAIR frequently. I was confident that “someone” in                                                   sin, have problems with my marriage, or am offended.” They refuse
those groups would soon provide the answers that my soul yearned.                                                 to listen and have cut off all contact with my family at all levels. Even
I proceeded to serve in a wide variety of callings (i.e. EQ presidency,                                           when I see members in the community, they act like we do not exist.
YM Presidency, Gospel Doctrine teacher, Ward Mission Leader, etc.)
                                                                                                                  It is hard to maintain a relationship with the Church when you are treated
During my tenure in a bishopric, I had the opportunity to answer
                                                                                                                  like “persona non-grata”. Additionally, I no longer believe Joseph Smith’s
(apologetically) some of the “historical” issues, mostly dealing polygamy
                                                                                                                  divine calling as God’s prophet, once l learned the truth about him.
and Masonic influences with the temple. Yet, some of those answers
did not set well with me. Immediately after I was released from the                                               I am not sure that anything could have prevented my faith transition.
bishopric, I was once called again to be the Gospel Doctrine teacher. I                                           The Church taught me to seek for truth. I did so using the Church’s
used the correlated materials, but fervently sought for the stories and                                           own materials. I can thank the Church for encouraging me to do so.
circumstances behind the doctrines and Church history. My objective was                                           Although, I regret not passionately doing so earlier in my life.
to provide more insight and identify the circumstances of the scriptures                                          Nothing can restore my faith in the LDS Church. The evidence is clear
we were studying that week, whether it was a moral story, a revelation                                            that they are engaged in a pattern of deception and fraud to continually
or doctrine. This was also the time to allow myself to address all that                                           mislead their own members and the public. They may consider following
divergent information that had been building up, “on my mental shelf.”                                            the example of the Community of Christ by acknowledging their history,
Yet, this additional study and prayer opened my eyes to so much more.                                             removing harmful practices, and eliminating non-Christian scripture
Additional issues surfaced that became too many to ignore or rationalize.                                         and doctrines. I have moved onto a new understanding of faith.
I became a zealous “seeker of truth,” in addition to being a “defender
of the faith.” By this time, I was a voracious reader which took me
through numerous volumes, including History of The Church, Journal

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ANONYMOUS MALE: AGE 35 - 50

                                                                                                                   feel that I will need to discuss these issues with her soon—not only for
 household income:        $200,000+
                                                                                                                   my personal sake, but also for how we may wish to address some of these
 education level:         College Graduate                                                                         issues with our children (assuming I do decide to stay in the church.)
 member type:             Life-long member                                                                         Stumbling upon these issues was very disconcerting, and in many
 prior to crisis:         Full Tithe Payer, Regular Attendance at                                                  ways, has left me somewhat angry. The trust I had in the church,
                          Sacrament Service, Temple Recommend                                                      and the leaders, is gone. I no longer look at the church with rose
                          Holder, Adherence to the Word of Wisdom                                                  colored glasses and probably never will. While I feel there is some
                                                                                                                   good in the church, my personal character leaves me wondering if
 callings held:           Full-time Missionary
                                                                                                                   I will be able to hang on, as I am slowly coming to the realization
I have been a lifelong, fully active member of the church. Up                                                      that the truth claims of the church, and many of the foundational
until a year ago, I was an ardent defender of the church and                                                       events in church history, likely are not true and didn’t happen.
would characterize anything negative—or what I perceived to be                                                     Going through a faith crisis is not something I ever wanted or thought
negative—as “anti” and would dismiss it without much thought.                                                      would happen to me. In some ways I wish I could put the genie back in
More recently, as I would read stories about the church and browse                                                 the bottle, but I’m afraid even if I can hold onto some strings of faith,
the comments section, I would invariably find comments over and                                                    my “testimony” of the gospel and of the church will never be the same.
over that portrayed Joseph Smith or the Church in a negative light.
I can’t say when exactly it happened, but slowly and surely the first
seeds of doubt crept in as I, without really understanding what was
taking place, began to let myself wonder why people would make
these comments about the Book of Abraham, polygamy, multiple
accounts of the First Vision, the Book of Mormon translation process.
Then, one day about a year ago, an old high school acquaintance (who
I later learned had gone through their own faith crisis and had recently
left the church) posted a link to a Mormon Stories podcast on her
Facebook page. Having never heard of Mormon Stories, I went to the
site and listened to the podcast. I couldn’t get enough and listened to
several other episodes over the course of the next few months. During
this time, I was introduced to much of the history of the church that
I never knew existed, much of it which was deeply troubling and
not in-line with the church that I had known throughout my life.
All of this is happening at a time when I had three young kids, with
twins on the way. At this point, as I continue in the midst of my faith
crisis, I am still trying to process how to proceed and what my next steps
of action might be. I have yet to tell my significant other as to the road
I have traveled over the past year and am fearful what that discussion
might bring. At the same time, I feel like it is all coming to a boil and I


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ANONYMOUS FEMALE: AGE 25 - 34                                                                                      ANONYMOUS MALE: AGE 35 - 50


 household income:        $50,001 - $100,000                                                                        household income:        $200,000+
 education level:         Some College                                                                              education level:         Some College
 member type:             Life-long member                                                                          member type:             Life-long member
 prior to crisis:         Full Tithe Payer, Regular Attendance at                                                   prior to crisis:         Full Tithe Payer, Regular Attendance at
                          Sacrament Service, Temple Recommend                                                                                Sacrament Service, Temple Recommend
                          Holder, Adherence to the Word of Wisdom                                                                            Holder, Adherence to the Word of Wisdom
 callings held:                                                                                                     callings held:           Gospel Doctrine Teacher, Young Men’s
                                                                                                                                             President, Elder’s Quorum Presidency, Elder’s
Before my faith crisis, I was a fully active, full tithe paying, temple                                                                      Quorum President
recommend holding member. I started questioning things when I heard
from somewhere else that there was more than one version of the First                                              Church meetings were so boring. I hated going to church and
Vision, and that they all had different elements. I looked it up on LDS.                                           started to ask myself why. This led to asking if I really believed
org and they mentioned four versions and it said that the reason for that                                          all of what the church teaches. I started researching church
is because of who was relating what Joseph told them. That satisfied                                               history and discovered that the real history is quite different
me for a while, until I heard that Joseph Smith married wives of other                                             from what I learned in church, seminary and at BYU.
men. I found evidence of that in genealogical websites myself and after
                                                                                                                   My wife was wary at first, but pretty soon I convinced her, and our kids,
that, it started crumbling pretty quickly. I had been taught growing
                                                                                                                   my brothers, and their kids that the church was not true. We are all
up that I would have to take part in polygamy in order to reach the
                                                                                                                   much happier now. I have an abiding love for the people in the church,
celestial kingdom, so once other things started crumbling, it became
                                                                                                                   but the institutional church is bereft of soul. The church’s positions
a huge relief to think that maybe it’s not “the one true church.”
                                                                                                                   on gays, women, literalness of scripture, evolution, and exclusive
I have very mixed feelings as I am still in the beginning stages, but I                                            truth claims would have to change for me to consider returning. I
have made a few changes. I don’t wear my garments as frequently and                                                will never donate a nickel to a charity that doesn’t disclose how the
that has been a positive change. Immediately I felt more confidence                                                money is used and how much leaders and management are paid.
and I felt more feminine. It was nice to feel like a woman rather
than a shapless blob. It has been freeing to think that it’s okay to
not believe in the church and what it teaches. More things make
sense now (why would God want to wait so long to give blacks the
priesthood? Why doesn’t God care about how women are affected
by the doctrine/culture of the church?). I still love the members of
our ward and would find it hard to leave, only because of that.
My husband is right there with me and is having a faith crisis
of his own. We haven’t told our families or friends yet.
I don’t know if there is anything that could rebuild my faith. For now,
I will go to church for the social aspect but like I said, if we were to
move, I’d probably take that opportunity to be done with the church.


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ANONYMOUS MALE: AGE 50 - 64

                                                                                                                  most of my church life. I did it out of not knowing the truth. I think
 household income:       $150,001 - $200,000
                                                                                                                  that is true for most ordinary members but I am sure the top leaders
 education level:        College Graduate                                                                         know the real history and that is what makes it so troubling for me.
 member type:            Convert of more than five years                                                          I have shared my doubts with some people. My wife is very nervous
 prior to crisis:        Full Tithe Payer, Regular Attendance at                                                  about all this and doesn’t want to talk about it and it has caused some
                         Sacrament Service, Temple Recommend                                                      pain for both of us. I talked to my Stake President and told him of a
                         Holder, Adherence to the Word of Wisdom                                                  few of my doubts and the difficulty of doing my calling on the High
                                                                                                                  Council but told him I would only continue in my calling if I could
 callings held:          Full-time Missionary, Young Men’s Presidency,
                         Young Men’s President, Elder’s Quorum                                                    only teach the things I am comfortable with and that I would try to
                         Presidency, Elder’s Quorum President, High                                               gear my messages to others who are struggling, and he has agreed
                         Priest Leader, Bishopric Councilor                                                       to this, and in fact, has encouraged me to do this. Many people I
                                                                                                                  talk to don’t want to hear about all this and I never push it.
I was a faithful member since I got baptized at age 14. Served a                                                  There are days when I think I can make all this work. I don’t
mission, was an Elder’s Quorum President several times, councilor in                                              believe much of what the church teaches but I see a lot of good
two Bishoprics, and currently serve on the High Council. My loss of                                               in the church and many of the doctrines I would like to believe
faith started first by events in my life as well in general that made me                                          or at least have hope in. Other days I am ready to walk away and
wonder if God really answered prayers and cared about us. I was in Iraq                                           never look back. I stay for now because of my family and because
in 2006-7 and saw things that made me question many things about                                                  of friends from church and because I think I can help others that
how I saw God. I served as the servicemen group leader in Fallujah                                                are struggling. I want to help others still go to church and be part of
and also felt a great connection to other LDS service men. I had two                                              the community even if they don’t believe all the church teaches.
sons on missions while I was gone. I did come home injured and with
                                                                                                                  If the church wants to keep me, they have to come clean with
some PTSD issues. Two years after my return, my oldest daughter took
                                                                                                                  our past and stop pretending it is perfect. I can accept flaws but I
her own life. Part of the reason was because she had messed up in her
                                                                                                                  don’t want to be lied to. The top leaders need to be the one to tell
younger years and the guilt she felt because of the church and many
                                                                                                                  about the seer stones in the hat, that the ban on the priesthood
of it’s members was too much for her. She would call me and ask me
                                                                                                                  was wrong. They need to get out of the bedrooms. They need to
to try to talk her out of ending it many times. We prayed very hard for
                                                                                                                  be more transparent about tithing and stop making it all about the
her and things never got better. I was at a loss when this happened.
                                                                                                                  money. The church needs to be honest. I want to make it work.
I love history and started studying some church history on the computer.
Blacks and the priesthood was one of the first things and I saw many
things wrong with what I had been taught and how things really were.
The three witnesses came next and the same thing. As I read one thing,
another issue would come up, Joseph Smith and all his wives and their
issues, the Book of Abraham, the different First Vision accounts, and
many more. None of this is taught at church nor is it talked about in
General Conference. I felt like the church had lied about some things,
whitewashed others, and misrepresented many things in art and in
every aspect. I also felt like I had done the same on my mission and

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ANONYMOUS MALE: AGE 25 - 34

                                                                                                                  brought up my questions to others. It seemed unethical that the Church
 household income:       $50,001 - $100,000
                                                                                                                  would teach us to have unflinching obedience to our leaders if the they
 education level:        Graduate School                                                                          can not reliably recognize revelation. While I could understand strict
 member type:            Convert of more than five years                                                          obedience to a perfect god, it was quite obvious that our human leaders
                                                                                                                  were very imperfect at interpreting the will of a perfect god. Suggesting
 prior to crisis:        Full Tithe Payer, Regular Attendance at
                                                                                                                  that what the prophet said was directly from god seemed like a dangerous
                         Sacrament Service, Temple Recommend
                         Holder, Adherence to the Word of Wisdom                                                  proposition—a proposition that was not historically reputable.
                                                                                                                  Learning this information was one of the hardest events of my life. I
 callings held:          Full-time Missionary, Gospel Doctrine Teacher
                                                                                                                  felt betrayed by a Church that I had devoted my life to. When family
I was raised in an orthodox, active LDS home. I earned my Eagle                                                   members would learn about my questioning, instead of being approached
Scout and Duty to God. I graduated from seminary, went to institute,                                              with a desire to understand, I would be called to repent and to be humble.
and served a full time mission where I served as an assistant to the                                              People didn’t understand that I could not forget the information I learned.
president. After coming home from my mission, I went to BYU and got                                               I see much good and truth in the church, and I still have a desire to
married in the temple. I served in many callings and I had an orthodox                                            be a part of the Church and to participate in a way that is authentic
testimony. I developed an interest in church history which first led to                                           to what I discovered. However, I have found a lot of resistance. A
me reading the institute manual “Church History in the Fullness of                                                predominate mentality that made me feel unwelcome was the emphasis
Time.” This interest soon blossomed into an intense academic study. I                                             on orthodoxy and the harsh rhetoric against those who cannot fully
would read a lot of primary source material and what I learned starkly                                            believe the standard narrative presented by the Church. For many
contrasted the narrative that I had been raised with in the Church.                                               people I encountered, following the rules was not enough. To them, I
Most notably was the deconstruction of what is currently a major pillar                                           could not be a cafeteria Mormon and pick and choose what I believed.
in the orthodox religious narrative presented by the Church, namely                                               However, that is the only way that I can be a part of the Church. I
that the prophet would not lead us astray. Like most members, I was                                               am still struggling to find my place, which I am finding out is difficult
raised with the caveat that a prophet is only a prophet when speaking as                                          in a very black or white all or nothing Church. People say that they
such. But I did not truly understand how often the prophets had been                                              want me at Church, but their invitation rings hollow when the same
wrong, sometimes for decades at a time. I was not aware that things that                                          people criticize those who question while in Sunday school.
were once accepted and taught by the prophets as doctrine sometime
                                                                                                                  I have two suggestions for the Church. Love people for who they are
completely contradicted what is taught by the prophets of today. The
                                                                                                                  and not for who you hope they become. Stop with the all or nothing
fact that past prophets would teach something as revelation that turned
                                                                                                                  mentality because a single chink in the narrative can bring it all down.
out to be not true made it clear that the leaders of the Church could
not always distinguish between what is revelation from god and what
is not. This caused me to come to the conclusion that if the prophets
of a prior generation could be wrong about something that they often
taught as doctrine, then our current leaders could also be wrong. Not
only did this new information undermine what I had thought was a core
tenant to Mormonism, but it also disturbed me that this information
seemed suppressed by the Church. The primary sources that supported
this information would be quickly dismissed as anti Mormon if I ever


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ANONYMOUS FEMALE: AGE 25 - 34

                                                                                                                   beer and wine on occasion which when reading the Word of Wisdom
 household income:        $50,001 - $100,000
                                                                                                                   is okay). We do not pay tithing to the church anymore because the
 education level:         College Graduate                                                                         church is not transparent with its finances the way it is supposed to be
 member type:             Life-long member                                                                         (according to the D&C), and we take big issue with the church building
                                                                                                                   the most expensive real estate development in history—and it’s a mall
 prior to crisis:         Full Tithe Payer, Regular Attendance at
                                                                                                                   (City Creek) across the street from the temple. We instead pay tithing
                          Sacrament Service, Temple Recommend
                          Holder, Adherence to the Word of Wisdom                                                  to charities and organizations who have financial transparency and where
                                                                                                                   the money goes directly to those in need. We are both Mormon Feminist
 callings held:           Relief Society Presidency                                                                and are advocates for women having an equal voice within the church. We
                                                                                                                   denounce the church’s current way of teaching modesty/chastity/virtue,
It’s been about two years since my husband and I experienced our
                                                                                                                   because we feel it is done using shame and guilt and causes more damage
faith transition. We are both life-long members with pioneer stock.
                                                                                                                   than uplifting people. And we support equal rights for LGBTQ’s (gays).
We started to reevaluate our faith when my husband began reading
Rough Stone Rolling. There were many things in the book that                                                       We firmly believe that the tent of Mormonism is in desperate
were either brand new to us or contrary to what we had each learned                                                need of expansion. We feel that the church needs to be more
growing up in seminary and institute. We then found Mormon                                                         proactive in upholding the eleventh article of faith, which reads,
Stories when my husband listened to Daymon Smith’s interview                                                       “We claim the privilege of worshiping Almighty God according
focusing on correlation and the corporate church. Slowly, things                                                   to the dictates of our own conscience, and allow all men the same
began to unravel the more we learned about early church history                                                    privilege, let them worship how, where, or what they may.”
and about how things work in the church’s corporate hierarchy.                                                     We recognize that many of the issues we have with the Church stem
As a result of my husband being the first to lose his faith, I began having                                        from Mormon culture but that many of the issues within Mormon
anxiety and panic attacks that I had never had before. I worried we would                                          culture are a result of the general leadership of the church.
get a divorce, was worried I was losing my eternal family, and was petrified                                       We love the teachings of the Savior—to have
as to how my family and church community would treat me if they found                                              charity, which is the pure love of Christ.
out. I knew divorce wasn’t an option so I began to research things with
                                                                                                                   In a nut shell, we call ourselves Mormon Agnostics. We love Mormon
my husband. We have been able to go through this journey together.
                                                                                                                   doctrine and have faith that there is a God, but we will no longer use
Neither of us would consider ourselves literal believers anymore—                                                  language like “we know the (fill in the blank) is true.” We say this
meaning, we don’t know if Joseph Smith really saw God the Father                                                   because we haven’t seen God and can’t KNOW—but we can have faith.
and Jesus Christ (result of discovering there were multiple accounts
of the First Vision). We don’t know if the Book of Mormon is an
actual historical text (we leave room that the teachings held in
them may be divine revelation—just not an actual translation). We
are very doubtful that polygamy was ever divinely inspired—we
think it was more likely a cover up for Joseph Smith’s scandals.
We follow the actual Word of Wisdom now more then we ever have (we
eat more vegetarian meals, more fruits/veggies, more healthy grains,
we’ve been exercising more and trying to get more rest, but we do drink


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ANONYMOUS MALE: AGE 35 - 50

                                                                                                                   I felt horrible when I learned the truth and when my “eyes were
 household income:       $150,001 - $200,000
                                                                                                                   opened” to these facts hidden from me all these years. I felt
 education level:        College Graduate                                                                          deceived and duped. I had always just trusted church leaders, never
 member type:            Life-long member                                                                          imagining they were not being completely honest with me.

 prior to crisis:        Full Tithe Payer, Regular Attendance at                                                   I spent months keeping all of this information to myself. I dared not
                         Sacrament Service, Temple Recommend                                                       tell my wife and kept researching, hoping I would find satisfactory
                         Holder, Adherence to the Word of Wisdom                                                   explanations for my issues. I finally came to the painful conclusion
                                                                                                                   that the church is not what it claims to be and decided to share my
 callings held:          Full-time Missionary, Gospel Doctrine
                         Teacher, Young Men’s Presidency, Young                                                    findings with my wife. I knew she would take the news hard, but
                         Men’s President, Elder’s Quorum Presidency,                                               she refused to listen to me and let me explain my findings. The idea
                         Bishopric Councilor                                                                       that the church may not be all it pretends to be was too much for her
                                                                                                                   and she could not process or handle it. She had me call my parents
I have been very active in the church all my life. I served a mission,                                             and talk to them, and had me go to my bishop. My bishop could not
married in the temple, paid my tithing, and served in various leadership                                           help with my issues. He told me I needed to read and pray about the
positions. My loss of faith started when I saw a video on YouTube                                                  Book of Mormon. I have tried this, but when I read it, I see all the
regarding the Book of Abraham. I thought the video was a bunch of lies,                                            errors and issues that were previously unknown to me. It is not that
but upon studying the issue, I discovered it all to be true. It was the                                            remarkable of a book after studying it knowing the influences of the
church that had lied and been less than truthful with me all these years.                                          Bible in it, the use of material common to Joseph Smith at the time
During my research of the Book of Abraham, I came across numerous                                                  he wrote it, and lessons and experiences common to his own life.
other issues. I felt like I was walking in a mine field, and bombs were                                            It has now been over a year since my crisis. I go to church every
blowing up on me with every step I took. Some of the additional                                                    week for my family. I like the Mormon people and the church
“bombs” that blew up on me include polygamy and polyandry,                                                         does a lot of good, but it is not “the one and only true church of
numerous versions of the first vision (and discovering it was never                                                God.” I stopped paying tithing and have no desire to go to the
shared with anyone by Joseph Smith for at least 10 years after the event                                           temple. This has created extreme stress in my marriage as my
occurred), Free Masonry and its influence on the temple ceremony,                                                  wife still believes and is not too interested in my concerns.
Joseph Smith and his involvement in magic and the occult (looking for                                              I still believe in God and believe that my faith in Jesus Christ will
treasure and translating the Book of Mormon using the same method),                                                save me at the last day. I love Him, try to serve Him, and honor
no mention of the priesthood restoration until many years later (and                                               Him. I try to do this while attending the Mormon church.
back dating and retrofitting the Doctrine & Covenants to include it),
                                                                                                                   Some of the pain could have been prevented by the church being
the true facts surrounding Joseph Smith and his death (he was not a
                                                                                                                   more honest and straightforward with regards to its history. I don’t
martyr), the Kirtland Bank scandal, Book of Mormon issues (lack of any
                                                                                                                   think I will ever have the same faith in the Mormon church as I had
linguistic, archeological, DNA, acronyms), blacks and the priesthood,
                                                                                                                   before learning the truth. It has been painful, but learning the truth
treatment of women, and lack of transparency with regards to how
                                                                                                                   has “set me free.” My eyes are open, and I am no longer deceived.
my tithing dollars are being used are just a few of the issues I have.




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ANONYMOUS MALE: AGE 35 - 50

                                                                                                                     My faith will never be what it once was, which is probably a good
 household income:         $100,001 - $150,000
                                                                                                                     thing. It is more flexible, fluid, symbolic, and rich. I have more
 education level:          Doctorate                                                                                 compassion for outsiders and people of other faiths. I attend
 member type:              Life-long member                                                                          church on a regular basis. I am not compelled to attend for family
                                                                                                                     reasons since I am a single guy. I have always had a deep attraction
 prior to crisis:          Full Tithe Payer, Regular Attendance at
                                                                                                                     to LDS theology, which perhaps also helped me come back.
                           Sacrament Service, Temple Recommend
                           Holder, Adherence to the Word of Wisdom                                                   Had the church leaders taught me the real version of church history
                                                                                                                     while growing up, I would have not experienced my faith crisis. It is
 callings held:            Full-time Missionary, Temple Worker, Elder’s
                           Quorum Presidency                                                                         ridiculous that I could be born and raised in the church, attend seminary,
                                                                                                                     institute, BYU, and go on a mission, yet never know about the real version
My faith prior to my faith crisis was fully-believing, yet                                                           of church history. The church leaders should NOT be afraid to tell the
accommodating of some metaphorical events (i.e., Adam and                                                            truth and let the consequence follow. It can be done in a faith-promoting
Eve, global flood). I observed all of the church rules with                                                          manner in most instances. In instances where past church leaders were
occasional transgressions, similar to most active members.                                                           clearly in the wrong, church leaders should admit to the mistakes and
                                                                                                                     apologize for them. I think that they will be surprised at how well
I lost my faith because I found that the historical and scientific
                                                                                                                     that would be received by the general membership. We are adults
reality of church history differed from the narrative as taught by the
                                                                                                                     here - adults tell the truth, apologize for wrongs, and take ownership.
church, the official church had no answers, and the apologetic groups
                                                                                                                     The church leaders should try it sometime. They might be amazed at
often had unreasonable or downright crazy answers. I had the most
                                                                                                                     the amount of healing and goodwill such actions would generate.
problems with foundational claims such as Joseph Smith and the
Book of Mormon. Attempts at communicating these issues to the                                                        For me to stay engaged with the church, the leaders must embrace
leadership are deflected back to the local level or unofficial apologetic                                            and own our past, admit and apologize for our wrongs, move forward
groups which are often ill-suited to addressing these issues.                                                        into the future utilizing divine revelation to make a more inclusive
                                                                                                                     church with high standards yet focusing on love, service, and
I felt lied to and deceived. This was difficult because the church
                                                                                                                     egalitarianism. Let’s teach a little more of the meat as well for those
leaders require honesty and huge sacrifices of its members
                                                                                                                     who want and need it. Constant milk can lead to spiritual starvation.
yet will not hold themselves to the same standard.
Most of my family and friends in the church tried to help me
but were ill-informed themselves and so they could not. Also,
when I tried discussing the issues in-depth, they did not want
to hear about it, citing that they felt a “loss of the spirit.” They
had already determined that the issues were anti-Mormon.
After a major period of inactivity (6 years) I returned to church,
mostly due to the helpful podcasts of John Dehlin and Dan
Wotherspoon who helped me construct a framework from the
broken pieces of my former black and white worldview.




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ANONYMOUS MALE: AGE 35 - 50

                                                                                                                    At times, I get frustrated by discussions of a literal existence of
 household income:        $200,000+
                                                                                                                    mythical figures ie.. Adam & Eve, race & gender issues, conservative
 education level:         Doctorate                                                                                 politics & gun control. I overcome the desire to humiliate individuals
 member type:             Life-long member                                                                          with overtly naive beliefs by remembering the path my children took
                                                                                                                    overcoming belief in beings such as the Bogey Man, the Tooth Fairy
 prior to crisis:         Full Tithe Payer, Regular Attendance at
                                                                                                                    & Santa Clause... I have adopted a philosophy where everyone is on
                          Sacrament Service, Temple Recommend
                          Holder, Adherence to the Word of Wisdom                                                   their own path to enlightenment—theirs is not mine to adjust..
                                                                                                                    My hope is that the Church openly accepts those with alternate views,
 callings held:           Full-time Missionary, Young Men’s Presidency,
                          Young Men’s President, Ward Mission Leader,                                               embraces those with divergent ideas, and ceases the effort to slam
                          Elder’s Quorum Presidency, High Priest                                                    every square peg in a round hole. I am caught in a paradox where
                          Leader, Stake Auxiliary Calling, Bishopric                                                my children are being exposed to UN-correlated church history at
                          Councilor                                                                                 home, and a very correlated version at church. With my influence, my
                                                                                                                    version is winning, the result being—they are developing a general
I was fully invested before my shelf collapsed. I discovered the correlated                                         distrust of any information they are being taught in a church setting..
version of Mormonism did not meet many of my basic needs, both logical                                              Breaks my heart they will not have the same positive experience in
and spiritual. Over the period of three years, I spent thousands of hours                                           youth conferences, EFY’s, camp-outs, missions, etcetera.. because
reading Church history related books, web sites, and discussion forums.                                             I refuse to enable the church in overtly dis-honest behaviors.
I eventually graduated to New Testament & near-eastern scholarship.
I also research archeology, evolution, language history, Egyptology,
comparative religious studies, cult research, Christian apologetic, Jewish
history, US history (reformation) -- native-American research, DNA
studies, Masonic & Rosicrucian ceremonies, Ancient “secret society”
rituals -- I pretty much dug into anything I felt I didn’t understand or
no longer accepted the correlated version I was fed throughout my life.
I remain devastated. I was systematically lied to by people I
trusted. I maintain a certain level of (shielded) anger during any
discussion about Mormonism. I cannot fully disclose my level of
skepticism with family and extended family due to my desire to
remain a participating member in family ritual. If I were to be fully
honest about my current agnosticism, the house of cards artificially
propped up by guarded secrecy would come crashing down. I
can accept that... I own my dishonesty for self-preservation.
I am often queried in church settings for historical or doctrinal
accuracy, I find it easy to answer most any question with the preface of
“according to x” or “referenced in y” and maintain personal integrity.




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ANONYMOUS MALE: AGE 35 - 50

                                                                                                                    enough and in front of enough people that I will start believing it
 household income:        $100,001 - $150,000
                                                                                                                    myself. I am still fairly active in the church and my bishop has been
 education level:         College Graduate                                                                          very understanding and supportive (he even granted me a temple
 member type:             Life-long member                                                                          recommend), as has my wife. But they cannot understand what it is
                                                                                                                    like to be outside the box looking back in, having seen both sides.
 prior to crisis:         Full Tithe Payer, Regular Attendance at
                          Sacrament Service, Temple Recommend                                                       I have tried so hard to be open minded and keep my feet in both worlds.
                          Holder, Adherence to the Word of Wisdom                                                   I have tried to find value in the symbolism, but I am told over and over
                                                                                                                    again that nuanced faith is unacceptable, that I must believe it all literally.
 callings held:           Full-time Missionary, Gospel Doctrine
                          Teacher, Young Men’s Presidency, Elder’s                                                  I try to stay active, but I have difficulty keeping warm feelings for a
                          Quorum Presidency                                                                         church that has intentionally covered up historical facts, keeps its finances
                                                                                                                    opaque, and values obedience over truth and individual integrity. I don’t
I remember the exact moment my testimony finally crashed. I                                                         make any attempt to destroy the faith of others, but I wish they would
was reading Mormon 9 where Moroni is talking about the spiritual                                                    take the time to ask themselves some tough questions and do some
gifts of Christ’s followers. I suddenly realized that the words I was                                               honest research. I feel that the church creates its own problem by making
reading were word-for-word from the King James Gospel of Mark.                                                      people feel disloyal for doubting or looking for answers. When they do
Not only that, they were from the forged ending that was added 200                                                  stumble across problems, they feel that the church has been disingenuous.
years after the fact. Suddenly, after decades of trying to hammer all
                                                                                                                    If the church wants people like me to find their faith again they
of the pieces of the jigsaw puzzle together, it all made sense. The
                                                                                                                    must stop treating their members like children. They must
word of God is so full of flaws because it is the word of Man.
                                                                                                                    tell the whole truth, they must find the integrity to apologize
I am a fourth-generation Mormon, returned missionary, married in the                                                for their mistakes and they must dedicate themselves to the
temple. I was fully active and striving to be an ideal Mormon, father                                               standard of honesty they demand of their members.
and priesthood holder in every way. I had encountered a number of
                                                                                                                    I will start to listen again when the church takes its cue from
things that tried my faith over the years but was able to push them aside.
                                                                                                                    the Seventh Day Adventists and other reputable religions and
Eventually I needed better answers and immersed myself in apologetic
                                                                                                                    publishes an honest and transparent accounting of its finances.
answers from FARMS and FAIR. After 20 years of apologetic research
and extreme effort to keep my faith, I finally came to the realization
that apologetics is nothing more than the making of excuses for things
that simply don’t hold up to scrutiny and reason. It is anti- science,
starting with a conclusion and fishing for evidence to support it.
I have told a few people about my faith crisis. Some get angry and
basically tell me to “get in line or get out.” Others deny that I
have lost my testimony and tell me that I just need to bear it more
frequently because “a testimony is found on your feet bearing
it not on your knees praying for it.” I tell them that this seems
like I’m being told to bear false witness until I have said it loudly



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ANONYMOUS FEMALE: AGE 35 - 50

                                                                                                                     But I suffer from tremendous cognitive dissonance when I try to
 household income:         $50,001 - $100,000
                                                                                                                     align what I still hear and learn at church with what I feel inside.
 education level:          College Graduate
                                                                                                                     My crisis began with church-related issues, but eventually led to
 member type:              Life-long member                                                                          me questioning the bigger issues, such as how and if God really
 prior to crisis:          Full Tithe Payer, Regular Attendance at                                                   intervenes in our lives. I used to feel so much comfort believing
                           Sacrament Service, Temple Recommend                                                       Heavenly Father watched our every move and answered our small
                           Holder, Adherence to the Word of Wisdom                                                   prayers (such as where I put the car keys). But I no longer believe that
                                                                                                                     a loving supreme being would help me find my keys but let a child
 callings held:            Young Women’s Presidency, Young Women’s
                           President, Full-time Missionary                                                           be abused at that same moment. I am very lost as to how I view my
                                                                                                                     relationship with God anymore, and that has caused me a lot of sorrow.

I was fully active (still am) prior to my “faith crisis.” A couple of                                                I have never suffered from depression before, but I just decided to
years ago, I set a goal to increase my testimony of Joseph Smith                                                     finally see a Counselor to help me through this because I am definitely
and the early history of the church. So, I began studying church                                                     struggling with depression, and I can trace it right back to the beginning
history. I became troubled by the incongruousness of what I was                                                      of this journey for me. I am not angry nor do I feel I’ve been intentionally
reading verses what I was taught in church (polygamy, Book of                                                        betrayed, I am just deeply sad and quite frankly, very confused.
Abraham, temple history, Book of Mormon translation, etc.)                                                           I keep my faith crisis mostly to myself. I will not tell my bishop
At that time, I had several close family members and friends chose                                                   because of my church-affiliated job. I don’t want to risk my
to leave the church over these historical issues as well as other                                                    job. I don’t tell my family because I don’t want to disappoint
controversial issues such as Blacks and the priesthood, Prop 8, etc. I                                               my parents or spark a faith crisis for my siblings. I have a few
respect these people very much and their disaffection really affected                                                good friends who I open up to and they are good listeners.
me. For the first time, I was really honest with myself about my beliefs                                             My relationship with the church is this...I go, am active, but my heart
and let myself admit doubts I’d been shelving for many years and new                                                 isn’t in it all the way. I feel the spirit some Sundays, others I am
doubts I’d discovered since learning more about church history.                                                      disappointed with the lessons and comments, and feel the church lacks
Over the course of two years, my testimony slowly unraveled. It has been                                             authenticity. We act as though there is a “recipe” for happiness, but I’ve
extremely sad and devastating to my sense of identity and purpose in                                                 learned that checking things off the obedience list doesn’t always bring
life. I DID NOT want this to happen, I tried desperately to stop it from                                             the expected list of blessings or happiness. I feel most members put
happening. But once you learn the truths about the foundation of our                                                 on an act, and hide their doubts. I feel I would get more out of church
church, you can’t unlearn them. For example, I cannot look at Joseph                                                 if we were honest with each other and really helped each other work
Smith the same after learning the details of polygamy and polyandry.                                                 through out doubts rather than putting up a beautiful display on the
And once I began to doubt his character, the unraveling began.                                                       relief society table and leading a lecture that feels more like a guilt trip.

I still live worthy of a temple recommend, and I have one. I am
employed by a church affiliated institution, which has made my faith
transition rather complicated. I have no desire to leave the church,
I see so much good in it. It is my heritage and I am proud of that.




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ANONYMOUS FEMALE: AGE 18 - 24                                                                                      ANONYMOUS MALE: AGE 35 - 50


 household income:                                                                                                  household income:       $100,001 - $150,000
 education level:         High School Graduate                                                                      education level:        Doctorate
 member type:             Life-long member                                                                          member type:            Life-long member
 prior to crisis:         Full Tithe Payer, Regular Attendance at                                                   prior to crisis:        Full Tithe Payer, Regular Attendance at
                          Sacrament Service, Temple Recommend                                                                               Sacrament Service, Temple Recommend
                          Holder, Adherence to the Word of Wisdom                                                                           Holder, Adherence to the Word of Wisdom
 callings held:           Young Women’s Presidency                                                                  callings held:          Full-time Missionary, Gospel Doctrine
                                                                                                                                            Teacher, Young Men’s Presidency, Elder’s
I’m a true-blooded, fully active member of the LDS church who                                                                               Quorum Presidency, Elder’s Quorum President
is about to graduate High School. For as long as I can remember, I
have done everything I was supposed to—prayed, paid tithing, read                                                  My faith crisis began with the best faith promoting intentions. After
scriptures, had high seminary and church attendance, followed all of                                               becoming somewhat stagnate by hearing the same lessons and stories
the commandments to a T. Yet also, for as long as I can remember,                                                  year after year in Sunday School and Priesthood meetings, I wanted
I have not held a testimony of the LDS Church. For 18 long years,                                                  to dig deeper and find out more about the early leaders of the church.
I’ve felt damaged and broken, because I couldn’t get the witness that                                              At this point, I was serving as ward financial clerk, full tithe payer,
everyone else was getting—and I was expending much more effort.                                                    and attending the temple monthly. I began reading more and more
I will never forget one of the most monumental days in my life:                                                    about early church history from both LDS sources and non-LDS but
the time my mother (a life-long member as well) told me she did                                                    nevertheless historical sources. I tried to avoid anything that had an
not believe in the LDS church and hadn’t for five years. Having                                                    obvious anti-Mormon agenda. But even with this goal, some of the
always been taught that everyone truly KNEW the gospel was right,                                                  findings I came across with surprising and confusing. As I learned of
but wasn’t always willing to live it, this shocked me. Previously, I                                               the Kinderhook Plates, Book of Mormon anachronisms and especially
had never stopped to consider that the reason that I didn’t get a                                                  the Book of Abraham origins, doubt began to grow. I continued to read,
witness was because it wasn’t true. I always felt it was my fault.                                                 even trying to counter what I was reading with the apologetic at FAIR
                                                                                                                   and FARMS. Their words seemed far reaching and unconvincing, and
This led me to research, to look into the Church’s history and doctrines.                                          the doubt continued to grow. At this point I decided to take it to what I
I, like many others, wasn’t pleased with what I found. Stories and facts                                           thought at that time was the ultimate resource, I prayed. I prayed over
that, although not denied by the church, were hidden from its members.                                             and over again, even one point going into a wooded area like Joseph
I felt betrayed, lied to, and most of all, angry. How could a church that I                                        Smith in order to receive an answer that these doubts were silly and
had dedicated my life to, that had controlled my childhood, lie to me like                                         for me to remain faithful. After dozens of attempts the answer never
this? Currently, I am still an active member, waiting either for a witness                                         came. I confided in my wife, who still to this day remains active LDS,
or for the day where I can be free from the direction of my local leaders.                                         and ultimately with my Bishop. After a few meetings with him, none of
I anticipate that when I make the decision to leave the church, the                                                which resolved any of my concerns, I decided to ask to be released from
consequences will not be benign. It will likely cause a divorce for my                                             all callings, including home teaching. As my doubt of Mormonism grew,
parents; I will be shunned by my extended family and friends. I could                                              so did the doubt of Christianity and the existence of any sort of Diety.
lose everything—all because I was concerned for my own happiness.



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ANONYMOUS FEMALE: AGE 25 - 34

                                                                                                                     am making the decisions that are best for me and my family. By making
 household income:         $25,001 - $50,000
                                                                                                                     these decisions based on personal revelation, I am also able to do more to
 education level:          College Graduate                                                                          serve others because my personal needs are being better met. If women
 member type:              Life-long member                                                                          held equal status and authority in the church, I likely never would have
                                                                                                                     had a faith crisis. However, my faith crisis has made me a more kind,
 prior to crisis:          Full Tithe Payer, Regular Attendance at
                                                                                                                     compassionate, service oriented person, and I know these changes have
                           Sacrament Service, Temple Recommend
                                                                                                                     brought my life into better harmony with the teachings of Christ during
                           Holder, Adherence to the Word of Wisdom
                                                                                                                     his ministry. I judge less and love more; I have greater faith in trials,
 callings held:            Young Women’s Presidency, Primary                                                         and I engage life more fully because I no longer have the ‘safety net’ of
                           Presidency, Stake Auxiliary Calling                                                       blind belief and obedience restricting my access to inspiration. I look to
                                                                                                                     God instead of ‘man,’ even when those men are well meaning church
Before my crisis of faith, I was very active, though I have always                                                   leaders. People, no matter how well intentioned, are still people and
been a ‘spirit of the law’ not a ‘letter of the law’ person. I am actually                                           make horrible, terrible, hurtful mistakes. I did a lot of harm to myself
still ‘active,’ but that comes because I feel called to fix things from                                              and those around me by being blindly obedient and acting against what
the inside out so I stay even through I am vehemently opposed                                                        I knew in my heart and my mind to be true and correct principles. Since
to many practices and do not agree with certain widely accepted                                                      my crisis of faith this is no longer an issue. I have regained control of
interpretations of doctrine. Ultimately, my faith loss stems from the                                                my life and have built a relationship with my Heavenly Parents that
oppression of women in the church. Our practices do not match our                                                    is stronger than I ever knew was possible because I rely on them first
rhetoric or our historical practices. Our teaching of ‘eternal salvation                                             instead of relying on some other person to interpret Their will for me.
through proper gender roles’ makes me physically ill. In our home,
                                                                                                                     I do not think I will ever have the same view of the church that I did
we teach true equality and the idea that my children are learning
                                                                                                                     in my younger years. I have seen past the shallow and twisted histories
these outdated views makes it hard for me to let them attend church
                                                                                                                     we are taught and I cannot truly respect an organization that has so
despite feeling that I need to be there to help end the problem. This
                                                                                                                     little respect for its members or deity to be so cavalier with both history
is a problem I struggle with every single Sunday without exception.
                                                                                                                     and doctrine. However, I will feel like great progress has been made
The interesting thing about my faith crisis is that as I have shared my                                              when women are ordained to the priesthood. All of the other issues I
views, others have shared their own misgivings about the current state                                               have with the church I feel will be eventually remedied once faithful
of affairs in the LDS church. Some are initially defensive about some of                                             women are allowed to serve in all levels of church leadership.
my issues with the church, but very few are still so defensive after fully
talking through the issues. I have found mostly support from friends,
family and church leaders. It seems like there are many people who
want to see change they are just too afraid to speak up on their own.
I still attend church, but I practice my faith on my own terms. I am
accountable to no one other than my Heavenly Parents and they are
the only source I look to for confirmation of my beliefs and actions.
There are some things I do that would seem very ‘wrong’ to ‘letter of
the law’ members, but I know through my own study and prayer that I



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ANONYMOUS FEMALE: AGE 25 - 34

                                                                                                                   I refused to believe that the God I knew would deny me a temple
 household income:       $0 - $25,000
                                                                                                                   marriage when we were worthy and willing. So that left me with option 2.
 education level:        College Graduate                                                                          However it works, I don’t think it is inspired. Why should anything else be?
 member type:            Life-long member                                                                          The next few years of our marriage went along, and I didn’t
 prior to crisis:        Full Tithe Payer, Regular Attendance at                                                   much question my belief further. Then in 2010, a few
                         Sacrament Service, Temple Recommend                                                       months after having my second baby, I had a major feminist
                         Holder, Adherence to the Word of Wisdom                                                   awakening prompted by my passion for birth rights.
 callings held:          Relief Society Presidency, Relief Society                                                 With a new baby and a toddler, I spent most of my time at home and a lot
                         President Gospel Doctrine Teacher                                                         on the computer. I started applying these feminist thoughts to the church,
                                                                                                                   specifically the lack of female deity. A friend of mine sent me the play
I grew up in an active LDS family in Ohio. I went to church                                                        written by Carol Lynn Pearson, “Mother Wove the Morning.” It opened
happily every Sunday. I had good friends at church and my ward                                                     up my heart to realize all that had been lacking in only having a male god.
was like a big extended family. My parents always had high-                                                        For the first time I SAW the patriarchy. I saw it and felt it and hated it.
profile callings in the ward and stake. As a teenager, I served                                                    I then discovered Carol Lynn Pearson’s Mormon Stories interview and
as the president of each of my Young Women classes.                                                                started devouring Mormon Stories podcasts. We spent the next year
I always wanted to go to BYU and got a scholarship—and off I went.                                                 involved in lots of online discussion and exploring lots of the issues
I wanted to get a degree that was practical and that I enjoyed, so I                                               with the church. We found an entire community of people who were
chose Broadcast Journalism. I managed to graduate without getting                                                  also exploring and questioning and sometimes leaving the faith.
married and then went to work at a news station in Salt Lake.                                                      I also pretty quickly devolved into agnosticism. We continued to attend
About six months after I graduated, I met my husband through                                                       church and fulfill our callings until we were released in the fall of 2011.
a Mormon singles website. He was 29, divorced with three                                                           That fall, I also had what one could call a spiritual experience where I
kids, and lived in North Carolina. I was 23. Marrying him was                                                      felt the weight of all the pain that patriarchy has caused in the world.
my first big deviation from the “typical” Mormon script.                                                           It was heavy and thick and painful. From that moment forward my
                                                                                                                   journey became emotional instead of just intellectual. Church became
Because he was divorced and had been previously married in
                                                                                                                   painful for me to sit through. I went a few more times in the winter of
the temple, we had to get a sealing clearance to be married in
                                                                                                                   2012, but finally just gave myself permission to stop. Once I did, it was a
the temple. When it was denied with no explanation, we were
                                                                                                                   weight lifted. I felt peace. I have been so much happier by letting it go.
devastated. I had spent my entire life dreaming of being married
in the temple. To be told by the prophet that we could not, even                                                   I no longer pray, read scriptures, or attend church. Nor do
though we were worthy, was almost incomprehensible.                                                                my children. I am now in the process of rediscovering my
                                                                                                                   spirituality outside the confines of Mormonism.
This was the first HUGE crack in the foundation of my testimony. Before
then I had never seriously questioned the gospel or the church. Having                                             I’ve lost a few old friends along the way. I’ve had people un-
our request denied left me with two options: 1) God told the prophet that                                          friend me on Facebook. Luckily, my family has not treated
we shouldn’t get married in the temple. 2) The decision was not inspired                                           me any differently. They have been wonderful. In fact, three
but bureaucratic, based on some sort of criteria that we did not meet.                                             of my four siblings are also out of the church now.




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ANONYMOUS FEMALE: AGE 18 - 24

                                                                                                                    about anything else. I was obsessed. I bawled at least once a day.
 household income:        $100,001 - $150,000
                                                                                                                    I lost my life’s meaning, purpose, and structure. I had no hope
 education level:         Some College                                                                              for humanity or the world. I didn’t know how to live. I nearly
 member type:             Life-long member                                                                          transferred. I lost my Monson Scholarship. I was grief-stricken.

 prior to crisis:         Full Tithe Payer, Regular Attendance at                                                   My friends have been fairly accepting, though I feel
                          Sacrament Service, Temple Recommend                                                       we are not as close. This grieves me. I’ve made friends
                          Holder, Adherence to the Word of Wisdom                                                   with other somewhat-jaded BYU students.
 callings held:           Young Women’s Presidency, Young Women’s                                                   My parents and brother have been loving and accepting. My
                          President, Gospel Doctrine Teacher                                                        mom ended up comforting me when I told her I didn’t believe
                                                                                                                    in God. I didn’t begin to heal until I knew that my family
I was fully active, fully believing, raised by Cache Valley stalwart                                                would still love me. Still, they worry, and I resent that.
parents in a very liberal college town in Pennsylvania. Very literal,                                               I feel comfortable claiming my Mormonism. I believe in God (most
by the book. I always had questions, particularly regarding women.                                                  days), though differently. My beliefs align more with what you could
I believed faith and science could coexist—I believed in evolution.                                                 call spiritual humanism. I am semi-active. I am unsure about my future
In my first year at BYU, I came into my own—I had a strong                                                          level of activity. Going to church meetings still causes me moderate to
testimony and the gospel was the foundation of my worldview.                                                        intense anxiety, and it’s super boring. So much of what we hear at church
I read liberal Mormon blogs (and was amazed by how they                                                             I consider extraneous or harmful. I find little spiritual nourishment.
strengthened my testimony) and eventually got into Mormon                                                           I want the Church to live out its potential. I love tea. I don’t care
podcasts. Church history interested me—some things seemed                                                           about the truth claims, though those sparked my crisis. I’m not very
a bit off. I decided to make a dedicated (literally: with some                                                      into Jesus. I wish we’d stop trying to be mainstream Christians and
intimation that this was dangerous, I opened with a prayer that                                                     embrace some of our earlier doctrines that have fallen out of favor—
my faith be preserved) effort to learn about church history.                                                        eternal progression and building Zion really resonate with me.
This did not go so well. I could not square what I’d been taught with                                               My crisis was spurred by historical problems. Had the church presented
what the best scholarship seemed to show, and I could not ignore that                                               a more honest/nuanced/open/thoughtful view of its past, I may never
evidence—I’d been taught to pursue truth no matter the consequence!                                                 have had the concrete evidence my faith required to deconstruct fully.
All of the more current social issues then presented themselves to                                                  I would have eventually run into women’s issues. If women/LGBT
me, without the defense of literal belief in truth claims: women. I                                                 were treated equally and history taught honestly, I would never
knew I was a feminist, but I finally let myself acknowledge the blatant                                             have had a violent break with the church. My theology might have
inequalities in the church. LGBT rights, lingering racism, lack of                                                  drifted, but it might have happened gradually within the church.
financial transparency, tithing, unethical ways of teaching/persuading/                                             My faith will never be the same, and I wouldn’t want it to be. I
baptizing—things that sounds a lot like mind control to me.                                                         have rebuilt a lot of my worldview, and I consider that a part of
I was devastated. I swung back and forth for a few months, so so so                                                 my faith. I have meaning and purpose again, after much therapy,
confused and uprooted, now recommitting to stronger belief, then                                                    writing, reading, and crying. I’m better for having suffered this
daring to question just a little further than I ever had. Eventually, I                                             trauma. I believe I’m a little closer to truth. I find myself less
deconstructed back to God and religion. I neglected my schoolwork,                                                  judgmental. I care more about the content of people’s hearts. I am
failed classes, and fell into a deep depression. I could not think                                                  more empathetic. I am impassioned to work for a better world.

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ANONYMOUS MALE: AGE 35 - 50

                                                                                                                   and when I came forward and was brave enough to address the
 household income:        $200,000+
                                                                                                                   evidence, I was chastised for dragging my family out of the church.
 education level:         Doctorate                                                                                The man who was the only father I knew told me that I was not
 member type:             Convert of more than five years                                                          sincere in this process and that I had entertained the desires of my
                                                                                                                   heart in coming to my conclusions and that he never wanted to
 prior to crisis:         Full Tithe Payer, Regular Attendance at
                                                                                                                   speak of it again. He was furious that I would accuse brother Joseph
                          Sacrament Service, Temple Recommend
                                                                                                                   and bore his testimony. He would not hear my “testimony.”
                          Holder, Adherence to the Word of Wisdom
                                                                                                                   Then there was the conference where the church took an interesting
 callings held:           Young Men’s Presidency, Elder’s Quorum
                          Presidency, Elder’s Quorum President,                                                    tactical approach to the literal truth claims and the problems of the church
                          Bishopric Councilor                                                                      where they blamed those who looked at the evidence and suggested
                                                                                                                   that faithful beware of such actions. They suggested that I had done
I was a fully committed absolute believer dedicated to trying to do                                                something wrong! I was a victim of lies and now they were justifying my
everything the church required. I justified all of my decisions based on                                           family and friends to label my sincere investigation as sin. My bitterness
church position and authority. “The prophet says...,” was a reasonable                                             towards the church authorities rose to their highest levels. They were so
prefix to any statement even when it seemed unreasonable.                                                          afraid of losing their power, losing the literal authority they claim that
My wife expressed concern regarding early church history surrounding                                               they will attack the injured to protect their interest. This was the pattern
Joseph Smith. I fearlessly suggested that we learn more about                                                      set by Joseph when confronted with his immoral behavior and I hate it.
the man and purchased No Man Knows My History and Rough                                                            My fury and disgust towards the church is unmeasured by any other
Stone Rolling. Upon reading Rough Stone Rolling, I became quite                                                    event, organization, person, or thing in my life. The phrase, “faith
concerned and the realization of the churches dishonesty came                                                      crisis” is only applicable when you are in the throws of realizing the lie.
to light. As I read the book again, I realized that not only had the                                               I am in no way experiencing a crisis now. I have never been happier
church lied regarding many of the churches restoration claims but                                                  and felt more genuine love and concern for my fellow man than what
that Joseph Smith was quite literally a pedophile and a fraud.                                                     I feel right now. When I left the church my boundaries for empathy
I dug deep into historical research where I realized that the “prophet”                                            were greatly expanded. I no longer justified marginalizing anyone
that spoke to God and could not lead us astray throughout history                                                  based on what the prophet said or what God supposedly said. I now
often did lead the church astray often justifying all kinds of immoral,                                            live by a very simple code. Believe or practice religion how you please
bigoted, unjust, violent, and perverted behavior by their authority                                                but if it violates the golden rule then I not only reject your message/
and the revelations of God. I knew what these realizations meant                                                   scripture/revelation as incorrect, but add that it is harmful to society
and tried to hold those feelings in and go through the motions,                                                    and will fight against it. Political correctness be damned—I will not
but to no avail. I realized that going through the motions and not                                                 allow for anyone to defend their bigotry, hatred, marginalization, or
making waves meant joining the church in covering up the damning                                                   discrimination based on their faith/belief. It is not a valid excuse.
evidence against the church in order to enjoy the fantasy.                                                         For me to return, the church would need to openly and honestly
I realized that I valued truth over faith and honesty over the honor                                               repent of their behavior. Admit the wrong, acknowledge the
of my church peers. After a year of no church attendance, I removed                                                evidence and truth, and admit that they are merely men and
my name from the records. I felt tricked and lied to. I felt used                                                  women doing their best with no greater claim to divinity than
                                                                                                                   any other well intention committed human being on earth.


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                                                                            POTENTIAL
                                                                            NEXT STEPS
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                                                                                                            OUR CHALLENGE
1 2. How think ye? If a man have                                                                           1. Faith Crisis is a viral challenge
 an hundred sheep, and one of                                                                                   affecting individuals, families and
 them be gone astray, doth he not                                                                              ward communities worldwide.
 leave the ninety and nine, and                                                                             2. Today, Faith Crisis is being driven
 goeth into the mountains, and                                                                                  primarily by uncorrelated content
 seeketh that which is gone astray?                                                                             propagated by social media.
13. And if so be that he find it,                                                                           3. The “Mormon Moment” will
verily I say unto you, he rejoiceth                                                                             continue the presentation
more of that sheep, than of the                                                                                 of uncorrelated information
ninety and nine which went                                                                                      to our membership.
not astray.                                                                                                 4. Unless bold measures are taken
                                                                                                                to treat those in Faith Crisis and
14. Even so it is not the will                                                                                  to mitigate the challenge for
of your Father which is in                                                                                      future generations, significantly
heaven, that one of these                                                                                       more LDS families will become
little ones should perish.                                                                                      impaired and the future success
MATTHEW 18:12-14
                                                                                                                of the Church will be put at risk.



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BREAKING THE CYCLE OF DISAFFECTION
                                                                                                                    INSIGHTS &
                                                                                                                    POTENTIAL
1) Mitigating Faith Crisis for Future Generations
Mitigating Faith Crisis for future generations is possible but will require bold



                                                                                                                    STRATEGIES
steps. The key is to ensure future generations no longer become shocked by
gaps between our official LDS narrative and our uncorrelated history.

2) Treating Those Currently in Faith Crisis                                                                          There is no panacea to solve the Faith Crisis challenge—but several steps
Addressing the pain and suffering of members currently in Faith Cri-                                                 can be taken to alleviate suffering and mitigate future loss-of-faith. The
sis—and encouraging them to remain faithful and active—is the                                                        following insights, strategies, and tactics are presented as suggestions for
more difficult challenge. However, many of those in Faith Crisis are                                                 how leaders may consider addressing the issue:
looking for reasons to stay. Our challenge is to give them good rea-
sons to stay. If we cannot, we risk losing their participation.
                                                                                                                     C L O S E T H E H I S T O RY G A P
The first and key point-of-recovery is when the active member shares con-
cerns with family, friends, and leaders. Instead of treating that person harshly,                                    Insight
our membership—and our leaders—must learn to treat him or her with em-                                               The gap between the history currently taught and factual history is—in
pathy, compassion, and unconditional love. These struggling members must                                             certain instances—highly differentiated..
be embraced to make clear they are wanted and needed (doubts and all).
                                                                                                                     Strategy
                                                                                                                     Inoculate current membership and future generations by closing the gap
                                                                                                                     between our historical narrative and factual history.

                                                                                                                    Possible Tactics
                                                                                                                    · Have a member of the First Presidency deliver a major address to all CES
                                                                                                                       leadership and staff that makes clear the urgent obligation of CES to
       Active member hears                                                                                             teach Church history openly and honestly (within a faith- based context).
                                                   Active member shares
     about troubling elements
                                                    concerns with family                                            · In an expeditious manner, update CES and other Church manuals
    of Church history, theology,
                                                     and friends and is                                                and curricula to more accurately depict Church history. Collaborate
        and culture from a
                                                      treated harshly.                                                with respected, non-Church employed historians to add credibility.
       disaffected member.
                                                                                                                    · Openly publish official position papers on difficult histori-
                                                                                                                       cal / doctrinal topics. If known answers are inconclusive, con-
                                                                                                                       cede uncertainty and advance multiple ‘viable’ answers, in-
                                                                                                                       cluding those that may be uncomfortable for the Church.

      1) Point-of-recovery for                      2) Point-of-recovery for                                        · Strategically identify difficult issues already being high-
         future generations.                           those currently in                                              lighted in the Church’s Joseph Smith Papers.
                                                         Faith Crisis.                                              · Place Church history back into the adult curriculum (Re-
                                                                                                                       lief Society and Priesthood) and provide members a frame-
                                                                                                                      work for better understanding complicated Church history.


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C O N S O L E I N D I V I D U A L S I N FA I T H C R I S I S                                                      S U P P O RT FA M I L I E S I N FA I T H C R I S I S


Insight                                                                                                           Insight
Members in Faith Crisis feel condemned, betrayed, and abandoned by the                                            Currently, a spouse in Faith Crisis often results in damaged or destroyed
Church.                                                                                                           marriages and traumatized families.

Strategy                                                                                                          Strategy
Train general leaders, local leaders, and the general membership how to ap-                                       Counsel families to stay together and support each other despite Faith
propriately ­acknowledge and support our brothers and sisters in Faith Crisis.                                    Crisis issues.

Possible Tactics                                                                                                 Possible Tactics
· Via conference talks, outbound communication, and leader-                                                     · Through conference talks and outbound communication, communicate
   ship training, work to change the traditional narrative (that                                                    that Faith Crisis—in and of itself—is not a valid reason for divorce.
   those who doubt are “sinners and apostates”) to an ap-                                                        · Counsel those members in Faith Crisis to allow their believing spouse to
   proach of empathy, understanding, love, and outreach.                                                            participate fully in Church (and not undermine the believing spouse’s faith).
· Encourage leaders to not exclude members from call-                                                           · Create an online-based “Faith Crisis Hotline” in which believ-
   ings when they experience a Faith Crisis.                                                                        ing and Faith Crisis spouses and family members can call a profes-
· Develop and provide local leaders with specific reference ma-                                                    sional specifically trained in dealing with Faith Crisis issues.
   terials that instruct leaders on what to say, what not to say, and
  where to send struggling members for additional support.
                                                                                                                  P R O V I D E PA S T O R A L C O U N S E L T O D O U B T E R S
· Instead of encouraging Faith Crisis members to “stop thinking
   and stop reading about the issues,” encourage members to thor-
                                                                                                                  Insight
   oughly research the troublesome issues. Consider providing a list-
                                                                                                                  Some members in Faith Crisis may lose their moral compass upon evapora-
   ing of third-party materials which have been shown to help those
                                                                                                                  tion of their beliefs.
   in Faith Crisis reconcile difficult issues (e.g. The God Who Weeps:
  How Mormonism Makes Sense of Life by Fiona and Terryl Givens).
                                                                                                                  Strategy
· Publicly acknowledge leaders are *listening* to those with concerns.                                           Provide pastoral counsel to help those—regardless of their beliefs—retain
· Acknowledge—and do not dismiss—the exis-                                                                       their LDS moral standards.
   tence of challenging Faith Crisis issues.
· Consider an outreach initiative in which general authorities                                                  Possible Tactics
   meet with disaffected members in compassion and love.                                                         · Reinforce morality using wider traditions or us-
                                                                                                                    ing sound principles for those who have lost faith.
                                                                                                                 · Provide guidance to non-believing members that allows
                                                                                                                    them to constructively interact with believing family and fel-
                                                                                                                    low members (e.g., what to do, what not to do).
                                                                                                                 · Provide access to trained mental health professionals to al-
                                                                                                                    leviate anxiety and to develop moral framework.


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P U T T H O S E I N FA I T H C R I S I S T O W O R K
                                                                                                                AN URGENT BUT
                                                                                                                THOUGHTFUL
Insight
· A significant number of Faith Crisis members wish to


                                                                                                                APPROACH
   stay engaged in the Church and contribute.
· Both faithful members and members with doubts are drawn to providing
  Christlike service to our fellow men and women inside and outside our
  LDS communities.                                                                                              Although a daunting challenge, the wrong approach would be to do
                                                                                                                nothing to address the Faith Crisis epidemic. The longer we wait, the
Strategy                                                                                                        more difficult and complex the challenge will likely become.
Retain and re-activate by leveraging the Church’s infrastructure and re-                                         Urgency is needed. But it should also be acknowledged that there is a risk
sources to put to work those Faith Crisis members willing to serve.                                              in publicly recognizing that such Faith Crisis issues exist. Some saints
                                                                                                                 who might never know these faith-eroding issues may become vulnerable
Possible Tactics                                                                                                 when these issues are publicly examined. Some argue we should promote
· Leverage Church resources to facilitate outward-facing compas-                                                what is called “faithful history,” that sanitizes the past and represses or
   sionate service projects and invite Faith Crisis members to as-                                               covers discrepancies between an arranged (constructed) historical narra-
   sist in organizing and participating (consider having The Mis-                                                tive and historical and scientific fact. While upsetting vulnerable members
   sionary Department lead this effort on a global scale).                                                       is a risk, it can be ameliorated by presenting troubling issues in a careful,
· Identify regional Faith Crisis leaders who can assist and                                                     open, and, even faithful context—that is, by demonstrating that a mature
   strengthen m­ embers experiencing a Faith Crisis.                                                             faith can (and should) allow for error, mistakes, and the full range of human
                                                                                                                 culpability that results from agency. One could argue that such a healthy
· Create a “by invitation” Sunday School curriculum or ongo-
                                                                                                                 approach diminishes dishonesty and hypocrisy and allows for individual
   ing Family Home Evening support group aimed at min-
                                                                                                                 saints to face their own failings and imperfections with greater honesty
   istering to members in crisis (and their families.)
                                                                                                                 and candor, thereby producing greater emotional and spiritual health.
                                                                                                                 If the Brethren and the institutional Church can set the example
                                                                                                                 that it is possible to face troubling issues openly and honestly, it
                                                                                                                 will enable members, weak and strong, to do the same. The al-
                                                                                                                 ternative is to continue to pretend these issues do not exist and
                                                                                                                 to be defensive about them, and thus continue to lose some of
                                                                                                                 the Church’s best, brightest and most spiritual members.
                                                                                                                 That this problem is challenging does not mean it is unsolvable. There
                                                                                                                 are many—our team included—who are ready to help the Church de-
                                                                                                                 sign and implement an approach for addressing this issue in a way that
                                                                                                                 both strengthens the Church and helps it fulfill its divine destiny.




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“The position is not assumed that the                                                               And when they spoke and acted
  men of the New Dispensation—its                                                                    as prompted by the inspiration of
  prophets, apostles, presidencies,                                                                  God, then what they said and what
  and other leaders—are without                                                                      they did was the word and will of
  faults or infallible, rather they are                                                              God, and the power of God unto
  treated as men of like passions with                                                               salvation...The only way such a
  their fellow men…But while the                                                                     task [teaching LDS history] can be
  officers and members of the church                                                                 accomplished, in the judgement
  possess this spiritual “treasure,” they                                                            of this writer, is to frankly state
  carried it in earthen vessels; and                                                                 events as they occurred, in
  that earthliness, with their human                                                                 full consideration of all related
  limitations, was plainly manifested                                                                circumstances, allowing the line of
  on many occasions and in various                                                                   condemnation or of justification to
  ways, both in personal conduct and                                                                 fall where it may; being confident
  in collective deportment. But back                                                                 that in the sum of things justice
  of all that, and it should never be                                                                will follow truth; and God will be
  lost sight of, is the supreme fact—                                                                glorified in his work, no matter
  and it was a controlling element                                                                   what may befall individuals
  in all their proceedings—that                                                                      or groups of individuals.”
  they occupied such relation with                                                                   ELDER B.H. ROBERTS A COMPREHENSIVE HISTORY OF THE CHURCH, CENTURY I



  God that they were, on occasion,
  moved upon to speak and act
  as God would speak and act.

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                                                          PROJECT IMPETUS & BACKGROUND


                                                         In May 2011, New York City-based brand strategist Travis Stratford
                                                         met with LDS historian Greg Prince at Prince’s home in suburban
                                                         Washington, D.C. Among the topics discussed during their visit was
                                                         the treatment of questioning members by some well-intentioned
                                                         but untrained local leaders. In particular, the two discussed the
                                                         ongoing tension between their mutual friend LDS podcaster and
                                                         scholar, John Dehlin, and his local leaders in North Logan, Utah.
                                                          On May 24, 2011, Stratford (a returned missionary from Sweden),
                                                          contacted former Area Authority Seventy Hans Mattsson in Sweden
                                                          proposing a team project aimed at helping the Brethren in Salt Lake better
                                                          understand faith crisis (the emotional distress and strained relationships
                                                          resulting from members discovering Church history facts that do not align
                                                          with the traditional LDS narrative). Mattsson enthusiastically agreed to
                                                          help and recommended that the team meet with Elder Marlin K. Jensen, a
                                                          member of the First Quorum of the Seventy and official Church Historian
                                                          / Recorder, who was also a personal friend of Mattsson and Prince.
                                                         On May 27, 2011, Mattsson sent Jensen the proposed New York
                                                         City meeting location, meeting objective, proposed agenda, and
                                                         attendee list, which included Mattsson, Stratford, and Prince.
                                                         After clearing the meeting with President Boyd K. Packer, the
                                                         President of the Quorum of the Twelve Apostles, on June 18, 2011
                                                         Jensen agreed to meet on October 24, 2011 in Manhattan.
                                                          By the end of September 2011, Dehlin had designed an ethnographic
                                                          survey aimed at collecting data that could be used at the Jensen
                                                          meeting in New York City. On October 13, 2011, the survey went
                                                          live to a self-selected group of survey participants recruited via
                                                          social media. On October 19, 2011, the survey had captured over
                                                          3,000 responses. With only six days until the Jensen meeting, the
                                                          team, including extended team members Morgan McKeown, Dave
                                                          Sonnatag, and Scott Holley, quickly analyzed the survey data (Dehlin
                                                          later published the survey results in his March 2012 report, “Why
                                                          Mormons Disbelieve.” At the request of Jensen, the New York impetus
                                                          for the research—and fact that the report’s findings were already being
                                                          shared with Church leaders—was not disclosed in Dehlin’s report.)




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Using the team’s October 2011 survey analysis and with general                                                     With encouragement from Prince and LDS scholar Bob Rees, in
feedback from several LDS subject matter experts, including Richard                                                early February 2013 Grethe Peterson, former member of The Young
Bushman, Fiona and Terryl Givens, and Russell Moorehead, on                                                        Women’s General Board, contacted Jensen to discuss how Church
October 23, 2011, Mattsson, Prince, and Stratford met in Scarsdale,                                                leaders could more proactively implement the team’s faith crisis
New York, to finalize the team’s strategy presentation. The content                                                recommendations. As part of their discussion, Jensen offered to
covered six topics: 1) Current challenges facing the LDS Church;                                                   personally convey the team’s faith crisis presentation directly to President
2) The seismic impact of Google and social media; 3) The ample                                                     Dieter F. Uchtdorf, Second Counselor in the First Presidency. Jensen
availability of “uncorrelated” Church information online; 4) The typical                                           requested that Stratford prepare a written version of the presentation
stages of faith crisis; 5) Key findings from the team’s ethnographic                                               that could stand alone without a corresponding oral presentation.
survey; and 6) Strategic recommendations for Church leaders.                                                        Between February and April 2013, Stratford and team
On October 24, 2011, Mattsson, Prince, Stratford, and Jensen met in a                                               prepared the Uchtdorf printed report, which they titled “LDS
conference room on the top floor of the Citigroup Center in Midtown                                                 Personal Faith Crisis.” Key collaborators and reviewers at this
Manhattan. During the meeting, which lasted from 9am to 3pm, the                                                    stage included Grethe and Chase Peterson, Fiona and Terryl
group discussed all six sections of the presentation. The meeting tone was                                          Givens, Joanna Brooks, Rees, Prince, and Moorehead.
professional but also somber as the group candidly discussed the painful                                           In mid April 2013, Jensen presented a hard-bound book of the
stories of individuals and families affected by faith crisis. Offering gratitude                                   LDS Personal Faith Crisis report to Uchtdorf. Uchtdorf later
for the team’s efforts and underscoring the importance of the presentation’s                                       wrote Stratford expressing gratitude for the team’s efforts and
content, at the end of the meeting Jensen invited Stratford to deliver the                                         assuring him the faith crisis message “was received.” Uchtdorf
same presentation to a group of senior Church leaders in Salt Lake.                                                also invited Stratford to visit him to further discuss the topic.
After several failed attempts by Jensen to get leadership approval for a                                           In May 2013, Harvard Business School professor and former Area
faith crisis meeting in Salt Lake, a January 29, 2012 Washington Post                                              Authority Seventy Clayton Christensen suggested to Stratford and
op-ed by Carrie Sheffield critical of the Church’s handling of its history                                         Moorehead that they capture additional first-person narratives to
reportedly caused enough alarm within the leadership that the faith crisis                                         supplement the printed Uchtdorf report. Later that month—and with
meeting with Stratford was approved. On February 23, 2012, Jensen hosted                                           help from Dehlin to distribute the survey—a second survey launched
a three-hour closed-door working lunch at the Joseph Smith Memorial                                                capturing individual faith crisis experiences expressed in 700 words or less.
Building in Salt Lake. Stratford presented the NYC faith crisis material to                                        Over 1,500 stories were collected. The average survey participant spent
a room full of General Authorities, Church Public Affairs representatives,                                         46 minutes completing their survey response. Submissions were collected
and Church History Department leaders. At the end of the meeting, the                                              from participants in North America, South America, Europe, Asia, and
leaders in attendance expressed their appreciation for the team’s work                                             Oceania. Several of these narratives were included in a separate document
and communicated their desire to adopt the report’s recommendations.                                               entitled “Faith Crisis Chronicles.” A sampling of these narratives was
With introductions provided by Prince, between March 2012 and February                                             also included in an updated LDS Personal Faith Crisis report provided
2013, Stratford visited Salt Lake on several other occasions to informally                                         to a number of additional General Authorities in August 2013.
consult with individual leaders about the pain and turmoil caused by faith                                         On July 15, 2013, Uchtdorf’s secretary organized a
crisis. In private, many leaders expressed to Stratford their willingness to                                       meeting between Stratford and Uchtdorf to take place at
promote greater empathy and understanding towards members in faith crisis                                          Uchtdorf’s office in Salt Lake on August 23, 2013.
and their families. But given political dynamics within the leadership, very
little on the topic was discussed publicly with the general membership.




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On July 20, 2013 The New York Times published a front-page story, “Some                                           COLLABORATORS
Mormons Search the Web and Find Doubt,” spotlighting the faith crisis                                             Many individuals selflessly contributed to this faith
journey of former Area Authority Seventy (and faith-crisis team member)                                           crisis project and warrant appreciation.
Hans Mattsson and highlighting several difficult aspects of Church history.
The article, which was syndicated across the globe and quickly went viral,                                        Adam Ford                                Joanna Brooks
reportedly made an alarming impact with Church leaders in Salt Lake.
The article further underscored the gravity of the team’s faith crisis work.                                      Bob Rees                                 John Dehlin

On August 23, 2013 Stratford arrived in Salt Lake for his meeting with                                            Brent Rushforth                          Letti Sommar Rockwell
Uchtdorf. Upon arriving at the Church Administration Building and clearing                                        Bryan Berkey                             Maria Petrova
security, Stratford learned that Uchtdorf unexpectedly was unable to
                                                                                                                  Calder Stratford                         Matt Sheffield
meet with him. Stratford left a printed copy of the Faith Crisis Chronicles
report, which Uchtdorf later acknowledged receipt via letter to Stratford.                                        Chase Peterson                           Meredith Hudson LeSuer
                                                                                                                  Clayton Christensen                      Michael Nelson
ESTIMATED OUTCOMES                                                                                                Dave Sonnatag                            Morgan McKeown
 On October 6, 2013—a few months after receiving the faith crisis                                                 Dan Wootherspoon                         Richard Bushman
 reports—Uchtdorf delivered his seminal General Conference address,                                               Elizabeth Hammond                        Royal Shipp
“Come, Join with Us,” in which he acknowledged to the Church’s
 worldwide membership that past leaders had “made mistakes” that                                                  Emily Clyde Curtis                       Russell Moorehead
 had caused some members to have doubts, an admission that was a                                                  Emily Snyder                             Ryan Hammond
 significant shift in tone towards members with questions. Uchtdorf
                                                                                                                  Enoch Palmer                             Sara Stratford
 also taught that it was inappropriate for other members to assume
 those with doubts “have been offended or are lazy or sinful.”                                                    Fiona Givens                             Scott Holley
Two months later, on December 6, 2013, the Church published the first of                                          Greg Prince                              Terryl Givens
its “Gospel Topics Essays,” which seek to address many of the historical                                          Greg Rockwell                            Travis Stratford
and doctrinal issues raised in the LDS Personal Faith Crisis and Faith
Crisis Chronicles reports. According to Church History Department                                                 Grethe Peterson                          Wayne Moorehead
leaders, the essays were administratively spearheaded by Uchtdorf.                                                Hans Mattsson
In the months following delivery of the LDS Personal Faith Crisis and                                             Jalynn Prince
Faith Crisis Chronicle reports, several General Authorities told Stratford
                                                                                                                  Jeff Green
that the team’s work had been reviewed by several other prominent General
Authorities—and that both reports were on file at the Church’s “restricted”
research library (with only top leaders able to access the sensitive reports).
The notable shift in leadership tone and transparency between 2011
and the end of 2013 should not be solely attributed to the team’s faith
crisis work. But several General Authorities remarked to Stratford
that the initiative was instrumental in facilitating changes.



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